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 7                              UNITED STATES DISTRICT COURT

 8                     WESTERN DISTRICT OF WASHINGTON AT SEATTLE

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     ALVIN GREENBERG, MICHAEL STEINBERG,             Case No. 2:21-cv-898
10   and JULIE HANSON, on behalf of themselves and
     all others similarly situated,                  CLASS ACTION COMPLAINT
11
                                       Plaintiffs,
12                                                   JURY TRIAL DEMANDED
           v.
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     AMAZON.COM, INC., a Delaware corporation,
14
                                     Defendant.
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 1          For their Class Action Complaint against Defendant Amazon.com, Inc. (“Amazon”),

 2   Plaintiffs, on their own behalf and on behalf of all others similarly situated, allege as follows:

 3                                         I.      INTRODUCTION

 4          1.      With this action, Plaintiffs seek to hold Amazon accountable for its unlawful price

 5   gouging during the COVID-19 pandemic.

 6          2.      Throughout the pandemic, consumers have turned increasingly to online retailers, and

 7   Amazon in particular, to fulfill their essential needs. With medical experts warning about the ease of

 8   infection in public settings, and “stay home” orders prevailing in most parts of the country,

 9   consumers recognized during the pandemic that retail excursions can have perilous consequences for

10   themselves or loved ones, no matter what precautions are taken. In this moment, Amazon’s services

11   have never been more appealing. Without venturing into public and risking exposure, and with just a

12   few clicks, Americans can purchase a wide range of consumer goods from Amazon that will be

13   delivered directly to their homes.

14          3.      Amazon’s sales have never been higher, and since the COVID-19 pandemic began, its

15   sales in some categories (e.g., home items) have increased more than 1,000 percent.1

16   Correspondingly, Amazon’s profits have skyrocketed. Jeff Bezos’s personal wealth increased by

17   $75 billion (or approximately $205 million per day) in 2020.2

18          4.      While Amazon has provided needed services during the pandemic, this does not place

19   it above the law. Like every seller, Amazon has a legal obligation under Washington (and other)

20   laws to ensure that its pricing does not exploit consumers facing emergency conditions. That is,

21   price gouging is not just immoral, it is a manifest violation of the Washington Consumer Protection

22   Act (“WCPA”) and other state laws.

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24

25      1
            See Dana Mattioli & Sebastien Herrera, Amazon Struggles to Find Its Coronavirus Footing.
     ‘It’s a Time of Great Stress.’, WALL STREET J. (Mar. 31, 2020), https://www.wsj.com/articles/
26   amazon-struggles-to-find-its-coronavirus-footing-its-a-time-of-great-stress-11585664987.
27
          2
            See Kate Taylor, A chart shows how Jeff Bezos’s net worth exploded by $75 billion in 2020,
     reaching $188 billion before he stepped down as Amazon’s CEO, BUS. INSIDER (Feb. 2, 2021),
28   https://www.businessinsider.com/amazon-ceo-jeff-bezos-net-worth-explodes-in-2020-chart-2020-12.
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 1          5.      To be sure, there is some price fluctuation in any dynamic market. This, however, is

 2   not a case about ordinary price fluctuation. It is about Amazon leveraging a pandemic to profit

 3   unfairly off consumers in real need. Moreover, available data show that Amazon’s price increases

 4   have been anything but normal. Just by way of example, after COVID-19 was declared a nationwide

 5   public health emergency by the U.S. Department of Health & Human Services,3 certain Amazon

 6   prices increased as follows:

 7      •   Face Masks: Increases up to 1,800 percent, from $4.21 to $79.99;
 8      •   Cold Remedies: Increases up to 1,523 percent, from $4.65 to $79.00;
 9      •   Toilet Paper: Increases up to 1,044 percent, from $17.48 to $200;
10      •   Pain Reliever: Increases up to 233 percent, from $18.75 to $62.40;
11      •   Black Beans: Increases up to 521 percent, from $3.54 to $21.99;
12      •   Baking Soda: Increases of more than 1,500 percent, from $3.08 to $50.00;
13      •   Flour: Increases up to 400 percent, from $22.00 to $110.00;
14      •   Yeast: Increases up to 625 percent, from $7.02 to $50.95; and
15      •   Disinfectant Wipes: Increases of more than 745 percent, from $20.71 to $174.96.
16          6.      All of these (and many more) Amazon price increases are flagrantly unlawful under

17   Washington law. While the WCPA does not codify a specific threshold for price gouging, many

18   states with comparable consumer-protection regimes set the bar at 10%. See, e.g., Cal. Penal Code

19   § 396(b), Ark. Code § 4-88-303(a), W. Va. Code §46A-6J-3. Others set it at 15%. See, e.g., Or.

20   Admin R. 401.965(3). Others bar any price increase during a declared emergency. See Haw. Rev.

21   Stat. Ann § 127A-30(a)(1). A bill being considered by Washington’s legislature would render

22   unlawful prices increases of 15% or more during a declared emergency.4

23          7.      While further Washington legislation may be informative, it is not required to hold

24   Amazon accountable now. As the Washington Attorney General has already recognized, charging

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        3
           See U.S. Dep’t of Health & Human Servs., Determination that a Public Health Emergency
26   Exists (dated Jan. 31, 2020, eff. Jan 27, 2020), available at:
     https://www.phe.gov/emergency/news/healthactions/phe/Pages/2019-nCoV.aspx.
27       4
           See SB 5191, 67th Leg., Reg. Sess. (Wash. 2021), text and status available at
28   https://app.leg.wa.gov/billsummary?BillNumber=5191&Year=2021 (last visited June 29, 2021).
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 1   excessive prices during the COVID-19 pandemic “is a violation of the Consumer Protection Act,

 2   RCW 19.86.020” as it currently exists.5 Invoking the WCPA, the Washington Attorney General has

 3   issued numerous cease-and-desist letters barring “price gouging during this emergency.”6 Whether

 4   or not further price gouging legislation is enacted, courts likewise have an obligation to enforce the

 5   plain terms of the WCPA, including its freestanding prohibition on “unfair” acts or practices. And

 6   price gouging to profit off a pandemic is about as “unfair” as a business practice can get.

 7          8.      Prior to this action, Amazon has acknowledged price gouging on its platform during

 8   the pandemic, but it has deflected responsibility by blaming third-party suppliers who use Amazon to

 9   market their goods. This public relations campaign has obscured two important facts. First, when a

10   third party markets a product on Amazon, Amazon controls virtually every aspect of the sale,

11   including the price ceiling. Thus, when Amazon sells products supplied by third parties at excessive

12   prices, Amazon is responsible. Second, and most brazenly, Amazon has inflated prices on its own

13   inventory of products throughout the pandemic. These are products Amazon supplies and sells

14   directly to consumers. For example, a study by the Public Interest Research Group (“PIRG”) shows

15   that, in February 2020, Amazon had increased prices on its own inventory by more than 50 percent

16   on one-sixth of public health products used to combat COVID-19.7 Later in September 2020, Public

17   Citizen tracked Amazon pricing on 10 essential products that Amazon markets directly (e.g. masks,

18   toilet paper, disinfectant, etc.) and identified markups from 48% to 1,010%.8 In short, while

19   claiming to combat third-party price gouging, Amazon has jacked prices on its own inventory of

20   products to profiteer off consumers in desperate need.

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           See Bob Ferguson, Wash. Att’y Gen., Notices to Cease and Desist (Mar. 26, 2020),
23   https://agportal-s3bucket.s3.amazonaws.com/uploadedfiles/Another/News/Press_Releases/
     DemandLetters032620.pdf.
24       6
           See id.
25       7
           See U.S. Pub. Interest Research Grp. Ed. Fund, Analysis: Coronavirus spike most surgical
     mask, sanitizer prices at least 50% on Amazon (last updated July 28, 2020), https://uspirgedfund.org/
26   resources/usf/analysis-coronavirus-spike-most-surgical-mask-sanitizer-prices-least-50-amazon.
         8
27         Public Citizen, Prime Gouging : How Amazon Raised Prices to Profit from the Pandemic at 12
     (Sept. 2020), available at https://mkus3lurbh3lbztg254fzode-wpengine.netdna-ssl.com/wp-
28   content/uploads/Prime-Gouging-report.pdf.
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 1          9.      To safely obtain essential goods during the COVID-19 crisis, Plaintiffs Alvin

 2   Greenberg, Michael Steinberg, and Julie Hanson purchased items from Amazon at excessive and

 3   unfair prices that vastly exceeded the prices prevailing before the pandemic—increases ranging from

 4   58% to 469%. Amazon profited unlawfully from these sales, and Plaintiffs were harmed

 5   commensurately. On behalf of themselves, and a proposed Class of consumers similarly situated,

 6   Plaintiffs seek damages, restitution, injunctive relief, and all other available remedies.

 7                                  II.     JURISDICTION AND VENUE

 8          10.     This Court has subject matter jurisdiction because this is a class action arising under

 9   the Class Action Fairness Act of 2005 (“CAFA”), which confers original jurisdiction on the federal

10   courts for any class action in which any member of the Class is a citizen of a state different from any

11   defendant, and in which the matter in controversy exceeds in the aggregate $5,000,000, exclusive of

12   interest and costs. Plaintiffs allege that the total claims of individual Class members in this action are

13   in excess of $5,000,000, as required by 28 U.S.C. § 1332(d)(2) & (6). Plaintiffs are citizens of

14   California, whereas Defendant is a citizen of Washington, satisfying 28 U.S.C. § 1332(d)(2)(A).

15   Furthermore, the total number of Class members is greater than 100, as required by 28 U.S.C.

16   § § 1332(d)(5)(B). Federal subject matter jurisdiction thus exists.

17          11.     Amazon has minimum contacts with the United States, this judicial district, and

18   Washington. Amazon maintains its headquarters in Washington and has intentionally availed itself

19   of the laws of Washington by conducting a substantial amount of business in the state. This Court

20   accordingly has personal jurisdiction over Amazon.

21          12.     Venue is appropriate in this District pursuant to 28 U.S.C. § 1391(b)(1) because

22   Amazon is headquartered and resides in this District. Venue is further appropriate in this district

23   pursuant to the forum selection clause in Amazon’s online “conditions of use,” which are available

24   when a consumer signs up for an Amazon account and makes purchases. The conditions provide

25   that “[a]ny dispute or claim relating in any way to your use of any Amazon Service will be

26   adjudicated in the state or Federal courts in King County, Washington, and you consent to exclusive
27   jurisdiction and venue in these courts.”

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 1                                              III.   PARTIES

 2   A.       Plaintiffs

 3            13.    Plaintiff Alvin Greenberg, Ph.D., is 74 years old and resides in San Rafael, California.

 4   San Rafael is in Marin County.

 5            14.    Dr. Greenberg is a practicing toxicologist. He served previously as Chair of the Bay

 6   Area Air Quality Management District Hearing Board, a Member of the California Occupational

 7   Health and Safety Standards Board (appointed by the governor), and Assistant Deputy Chief for

 8   Health, Cal-OSHA.

 9            15.    Following U.S. Department of Health and Human Services’ January 31, 2020

10   declaration of a national COVID-19 emergency, Marin County issued a Shelter-in-Place Order on

11   March 16, 2020.9 Consistent with prevailing guidance from health experts, the order instructed

12   residents such as Dr. Greenberg to “self-isolate in their place of residence to the maximum extent

13   feasible.”10 Marin County officials implored residents to leave their homes “as infrequently as

14   possible and only for approved activities.”11 While discouraging avoidable excursions, Marin County

15   officials reminded residents that they could still “go online, purchase items, and have them delivered

16   to [their] home.”12 This guidance was reiterated by the California Department of Health, which on

17   March 16, 2020, advised individuals over the age of 65, such as Dr. Greenberg, to “[r]emain at home

18   until further guidance is issued” and to “[c]onsider on-line ordering for food and other supplies.”13

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21        9
           See Matt Willis, MD, MPH, Health Officer of the Cty. Of Marin, Order of the Cty. Health
22   Officer of the Cty. Of Marin to Shelter in Place (Mar. 16, 2020), available at
     https://coronavirus.marinhhs.org/sites/default/files/Files/Shelter%20in%20Place/Shelter%20
23   in%20Place%20Order%2016%20March%202020.pdf.
         10
            Id.
24       11
            Marin Health & Human Servs., Frequently Asked Questions, https://coronavirus.marinhhs.org/
25   faqs/en (last visited June 29, 2021) (FAQ: “What can I do to slow the spread of COVID-19”).
         12
            See id. (FAQ: “Can I still order the things I need online from businesses and have them
26   delivered to my home?”).
27
         13
            See Cal. Dep’t of Pub. Health, COVID-19 Public Health Guidance: Self-Isolation for Older
     Adults and Those Who Have Elevated Risk (Mar. 16, 2020), https://www.cdph.ca.gov/Programs/CID/
28   DCDC/CDPH%20Document%20Library/Self_Isolation_Guidance_03.16.20.pdf.
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 1             16.   Marin County renewed its Shelter-in-Place Order on March 31, 2020, expanding it to

 2   make social distancing mandatory.14 The Shelter-in-Place Order was further renewed by subsequent

 3   pronouncements, and California’s statewide shelter-in-place order remained in effect until June 15,

 4   2021.15

 5             17.   On or around April 21, 2020, Dr. Greenberg spoke with his girlfriend, Julie Hoemke,

 6   who resides in San Jacinto, California. Ms. Hoemke lives with three of her children and a

 7   granddaughter who, at that time, was six months old. Consistent with guidance from public health

 8   officials, Ms. Hoemke had been regularly disinfecting the surfaces of her home to protect herself and

 9   family from COVID-19. She had been using bleach for this purpose but had run out of her supply.

10   Ms. Hoemke visited and called multiple retailers in her vicinity—including grocery stores, Home

11   Depot, Lowes, and Walmart—in hopes of securing a replacement supply of bleach. The retailers,

12   however, were all sold out of bleach and other disinfectants.

13             18.   Hearing this, Dr. Greenberg endeavored to locate bleach that could be shipped to Ms.

14   Hoemke. Dr. Greenberg did not, however, feel safe visiting retail outlets in and around his San

15   Rafael home. COVID-19 was spreading at this time and at 74 years of age, and with asthma, Dr.

16   Greenberg recognized that he was at heightened risk of experiencing complications should he come

17   into contact with the virus. Heeding public health guidance, Dr. Greenberg instead looked online for

18   a supplier of bleach. The only online retailer he could locate with any bleach in stock was Amazon,

19   which on April 21, 2020, was selling three-bottle containers of Clorox Concentrated Germicidal

20   Bleach for $58.19. From his professional training, Dr. Greenberg was generally aware that bleach is

21   effective in combatting viruses. Dr. Greenberg had also reviewed the CDC’s and EPA’s websites to

22   confirm as much. The particular Clorox product Dr. Greenberg located on Amazon features a higher

23   concentrate of sodium hypochlorite, the active ingredient that kills viruses.

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25      14
            See Lisa Santora, MD, MPH, Deputy Health Officer of the Cty. Of Marin, Order of the Cty.
     Health Officer of the Cty. Of Marin to Shelter in Place (Mar. 31, 2020), available at
26   https://coronavirus.marinhhs.org/sites/default/files/2020-03/marin_final-superseding-shelter-in-
     place-order.pdf.
27       15
            See Safely reopening California, https://covid19.ca.gov/safely-reopening/ (last updated June
28   22, 2021).
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 1           19.    Dr. Greenberg recognized immediately that $58.19 was an exorbitant price for three

 2   bottles of Clorox Concentrated Germicidal Bleach. But under the circumstances, he saw no

 3   meaningful choice but to purchase it from Amazon. Even if this product could be obtained from

 4   stores in his area, and there was no assurance of that given retail scarcity of COVID-combatting

 5   products, as indicated by Ms. Hoemke’s inability to find bleach at local retailers, Dr. Greenberg did

 6   not feel safe venturing into retail outlets, nor would this have been consistent with public health

 7   guidance. The only alternative was to wait in hopes that other online retailers would restock the

 8   product, but it was unclear when (if ever) this would occur. At the time, Amazon itself purported to

 9   only have six boxes of Clorox Concentrated Germicidal Bleach remaining. With COVID-19

10   spreading rapidly, and the safety of his girlfriend and family imperiled, Dr. Greenberg did not

11   believe that waiting was an option. Dr. Greenberg accordingly purchased the product at the listed

12   price of $58.19. Dr. Greenberg paid for the bleach out of pocket and has not been reimbursed.

13           20.    The price Dr. Greenberg paid for Clorox Germicidal Bleach vastly exceeded the price

14   that prevailed on Amazon prior to the pandemic. On January 31, 2020, when Health and Human

15   Services Secretary Alex M. Azar II declared a nationwide COVID-19 health emergency (effective

16   January 27, 2020), the specific product Dr. Greenberg purchased sold on Amazon for $21.74.16 By

17   April 21, 2020, when Dr. Greenberg made his purchase, the price had jumped to $58.19, which

18   represents a 168% increase above the January 31, 2020 price.17

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            See https://keepa.com/#!product/1-B06XZJH8XJ (last visited June 30, 2021). For brevity,
27   links to specific product price-tracking websites are abbreviated to their URLs.
         17
28          Id.
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10           21.    Plaintiff Michael Steinberg lives in Oakland, California, which is in Alameda County.
11   Following the U.S. Department of Health and Human Services’ January 31, 2020 declaration of a
12   national emergency, Alameda County declared a State of Emergency on March 1, 2020.
13           22.    To prevent a larger outbreak of COVID-19, on March 16, 2020, Alameda County
14   issued a Shelter-in-Place Order, which instructed its citizens to “self-isolate in their places of
15   residence to the maximize extent feasible.”18 On that same day, similar orders were issued by five
16   surrounding Bay Area counties, as well as the City of Berkeley, with a total population exceeding six
17   million people covered by the orders. A California statewide shelter-in-place order remained in
18   effect through June 15, 2021.
19           23.    While discouraging avoidable excursions, like in Marin County, Alameda County
20   officials informed residents that they could still “go online, purchase items, and have them delivered
21   to [their] home.”19 The Alameda County Interim Health Officer has explained that sheltering in place
22   is necessary because of, among other things, “evidence of continued significant community
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            Dr. Erica Pan, Interim Health Officer of the Cty. of Alameda, Order of the County Health
25   Officer to Shelter in Place (Mar. 16, 2020), http://www.acgov.org/documents/Final-Order-to-Shelter-
     In-Place.pdf.
26       19
            See Alameda Cty. Health Care Servs. Agency, Alameda County FAQs for Shelter in lace
27   Order at 21 (updated Apr. 29, 2020, eff. May 4, 2020), available at https://www.albanyca.org/home/
     showpublisheddocument/44444/637239184942130000 (FAQ: “Can I still order the things I need
28   online from businesses and have them delivered to my residence?”).
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 1   transmission of COVID-19 within the County and throughout the Bay Area,” that “the virus can

 2   survive for hours to days on surfaces and be indirectly transmitted between individuals,” “[b]ecause

 3   even people without symptoms can transmit the infection, and because evidence shows the infection

 4   is easily spread, gatherings and other direct or indirect interpersonal interactions can result in

 5   preventable transmission of the virus.”20

 6            24.   Consistent with these orders and prevailing guidance from medical experts, Mr.

 7   Steinberg limited trips outside the home during the COVID-19 pandemic. He also sought to prepare

 8   more meals at home to minimize contact with outside food vendors, which includes making his own

 9   bread.

10            25.   Although fearful when leaving his home, Mr. Steinberg during the pandemic has

11   attempted to purchase yeast, a necessary ingredient for bread, at local grocery stores. But at points

12   during the pandemic, yeast has been unavailable or exceedingly difficult to procure. John Heilman,

13   vice president of yeast manufacturing for AB Mauri, makers of Fleischmann’s Yeast, told USA

14   Today that the two to three weeks of dry yeast buffer inventory Fleischmann’s had on hand “was

15   gone almost instantly” after the beginning of the COVID-19 pandemic, and estimated on April 23,

16   2020, that it would take approximately one to two months to get store shelves stocked again.21

17            26.   In April 2020, Mr. Steinberg was unable to locate yeast at local grocery stores and

18   looked for supply on the internet. On April 3, 2020, Mr. Steinberg saw a sales listing for a two-pound

19   pouch of Red Star Active Dry Yeast on Amazon for $39.97. He looked online at the website of

20   another large retailer but could not find any yeast for sale.

21            27.   Mr. Steinberg was unable to find yeast elsewhere, he understood the government

22   directives to shelter in place, and he recognized the importance of making food at home in the midst

23   of the pandemic. Thus, he felt that he had no meaningful choice but to purchase yeast on Amazon

24   and accept the terms Amazon was offering, and he did so.

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26      20
           See id. at 3, ¶ 9.
        21
27         Jessica Guynn & Kelly Tyko, Dry yeast flew off shelves during coronavirus pantry stocking.
     Here’s when you can buy it again, USA TODAY (updated Apr. 30, 2020), https://www.usatoday.com/
28   story/money/food/2020/04/23/coronavirus-pantry-baking-yeast-shortage/3004274001/.
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 1           28.    Nonetheless, Mr. Steinberg was still very upset about the price of yeast on Amazon, a

 2   basic household staple, and believed that he was being exploited because there was nowhere else to

 3   buy it. So, in the week following his April 3, 2020 purchase, he complained to Amazon about the

 4   price and the apparent price gouging. He made multiple phone calls, but the calls got him nowhere. It

 5   seemed that each Amazon agent he spoke with had no idea what was going on, apart from noting his

 6   prior call and concern. They read from what seemed to be a script, which was nonresponsive to

 7   anything he was trying to communicate. When Mr. Steinberg complained about the price jump and

 8   pointed out that he believed the Amazon website tracks prices, a person he thinks was a supervisor

 9   said that he had no access to that information, and that it is up to another department to figure out

10   whether a price is appropriate. Feeling frustrated but out of options, Mr. Steinberg kept the yeast and

11   received no discount or rebate.

12           29.    The price Mr. Steinberg paid for Red Star Active Dry Yeast vastly exceeded the price

13   on Amazon prior to the pandemic. On January 31, 2020, when Health and Human Services Secretary

14   Alex M. Azar II declared a nationwide COVID-19 health emergency (effective January 27, 2020),

15   the specific product Mr. Steinberg purchased sold on Amazon for $7.02.22 By April 3, 2020, when

16   Mr. Steinberg made his purchase, the price had jumped to $39.97, which represents a 469% increase

17   over the January 31, 2020 price.23

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            See https://keepa.com/#!product/1-B005KR0MZG (last visited June 30, 2021). The price for
27   this product reached as high as $50.95 during the pandemic.
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28          Id.
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10           30.    Plaintiff Julie Hanson lives in Diamond Springs, California, which is in El Dorado

11   County.

12           31.    Following the U.S. Department of Health and Human Services’ January 31, 2020
13   declaration of a national COVID-19 emergency, El Dorado County issued a Shelter-in-Place
14   directive on March 19, 2020.24 California’s Governor Newsom issued a statewide Shelter-in-Place
15   Order the same day.25 As with the statewide directive, El Dorado County’s Order was designed to
16   ensure “that the maximum numbers of people self-isolate in their place of residence to the greatest
17   extent feasible.”26 Action was needed, El Dorado County concluded, because of “evidence of
18   increasing occurrence of COVID-19 in the surrounding counties and the State of California.”27
19   Officials warned in particular that individuals with underlying health conditions faced enhanced “risk
20   for serious health complications, including death, from COVID-19.”28 El Dorado County’s Shelter-
21

22      24
            See Nancy J. Williams, Public Health Officer, El Dorado Cty. Health & Human Servs.
23   Agency, Directive of the El Dorado County Public Health Officer Restricting Activities in Response
     to COVID-19 Outbreak (Mar. 19, 2020). available at https://www.edcgov.us/Government/hhsa/
24   Documents/El%20Dorado%20-%20shelter-in-place%20directive%XXX-XX-XXXX.pdf, last visited July
     1, 2020.
25       25
            See Cal. Exec. Order N-33-20 (Mar. 19, 2020), https://covid19.ca.gov/img/Executive-Order-N-
     33-20.pdf, last visited July 1, 2020.
26       26
            See El Dorado Cty., supra note 24.
27       27
            See id.
         28
28          See id.
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 1   in-Place Order came on the heels of statewide guidance from the California Department of Health,

 2   which highlighted the “elevated risk” for health-compromised individuals and advised them to

 3   “[c]onsider on-line ordering for food and other supplies” to keep themselves and loved ones

 4   healthy.29

 5            32.    Ms. Hanson is 57 years old and suffers from underlying health conditions, some of

 6   which heighten the risk she will experience adverse, and potentially fatal, consequences should she

 7   come in contact with the novel coronavirus. Ms. Hanson has Parkinson’s disease and bronchiectasis,

 8   a lung condition that causes coughing due to scarred tissue in the bronchi, or the passages that let air

 9   into the lungs. Severe bronchiectasis can lead to respiratory and heart failure. Ms. Hanson was also

10   in a head-on vehicle collision in 2018, which has impaired her mobility.

11            33.    Prior to the outbreak of COVID-19, Ms. Hanson was just beginning to regain mobility

12   sufficient to shop outside her home. But as COVID-19 spread through California in February 2020,

13   Ms. Hanson decided, particularly in light of her health conditions, that it was not safe for her to make

14   retail excursions. This decision comported with public health guidance, including subsequent

15   directives issued by El Dorado County and California health officials, regarding the need to self-

16   isolate, particularly for persons with underlying health conditions. To meet her daily needs, and to

17   provide for her family, Ms. Hanson turned to Amazon and the home delivery it offers. Since the

18   outbreak of COVID-19, Ms. Hanson has purchased certain items from Amazon for herself, and

19   others for daughters who live in their own residences and receive support from Ms. Hanson.

20            34.    On or around April 14, 2020, Ms. Hanson became aware that one of her daughters,

21   Sabrina Gates, had acquired a kitten and was experiencing an outbreak of fleas in her own

22   household. Ms. Gates lives with three young children, one of whom has Type 1 diabetes, a condition

23   that increases the likelihood that COVID-19 will lead to serious health complications. Like her

24   mother, Ms. Gates has generally stayed inside her home throughout the COVID-19 pandemic to

25   protect herself and particularly her diabetic son.

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        29
             See Cal. Dep’t of Pub. Health, supra note 13.
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 1              35.     Ms. Hanson undertook to locate products that might alleviate her daughter’s flea

 2   infestation. Ms. Hanson found one such product—Zodiac Flea & Tick Spray—on Chewy.com, an

 3   online pet-supply retailer, but the product was not available for shipment. Ms. Hanson subsequently

 4   found the same product on Amazon and, on April 30, 2020, purchased it for the price of $14.19. Ms.

 5   Hanson paid out of pocket and has not been reimbursed.

 6              36.     The price Ms. Hanson paid for Zodiac Flea & Tick Spray vastly exceeded the price on

 7   Amazon prior to the pandemic. On January 31, 2020, when the U.S. Department of Health and

 8   Human Services declared a nationwide COVID-19 health emergency (effective January 27, 2020),

 9   the specific product Ms. Hanson purchased sold on Amazon for $8.99.30 By April 30, 2020, when

10   Ms. Hanson made her purchase, the price had increased to $14.19, representing a 58% increase over

11   the January 31, 2020 price.31

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21   B.         Defendant

22              37.     Defendant Amazon is a corporation organized and existing under the laws of

23   Delaware, with its principal place of business in Seattle, Washington. Amazon is the world’s largest

24   online retailer.

25                                      IV.    FACTUAL ALLEGATIONS

26                                             Outbreak of COVID-19

27        30
               See https://keepa.com/#!product/1-Bpara 001OVGJUO (last visited June 30, 2021)
          31
28             See id.
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 1
             38.    In late 2019, an outbreak of respiratory illness resulting from a novel coronavirus was
 2
     first identified in Wuhan City, Hubei Province, China. That illness, now known as COVID-19, has
 3
     spread across the world. COVID-19 has been designated a pandemic by the World Health
 4
     Organization, the first pandemic resulting from a coronavirus. As of the date of this Complaint, more
 5
     than 181 million confirmed cases of COVID-19 have been reported across the globe, and almost 4
 6
     million persons have died from their illness.32
 7
             39.    The first diagnosed case of COVID-19 in the United States was a Washington state
 8
     resident who had traveled to Wuhan.33 That diagnosis occurred on January 21, 2020. Within days
 9
     there was a second diagnosis in Chicago and another in Orange County.34 Alarm spread rapidly
10
     within the public health community and population at large. On January 23, the World Health
11
     Organization (WHO) confirmed that the coronavirus was being transmitted human-to-human, and
12
     recommended that “all countries should be prepared for containment, including active surveillance,
13
     early detection, isolation and case management, contract tracing and prevention.”35 The following
14
     week, several cases of human-to-human transmission were confirmed in the United States.
15
             40.    On January 31, the U.S. Department of Health and Human Services declared a public
16
     health emergency (effective January 27, 2020).36 At the same time, the U.S. imposed entry
17
     restrictions on foreign nationals and quarantined U.S. citizens who had been evacuated from Hubei
18

19

20      32
            See World Health Organization, Coronavirus (COVID-19) Dashboard, available at:
21   https://covid19.who.int/ (last visited July 1, 2021).
         33
            See Alan J. Stein, First confirmed case of COVID-19 in the United States is diagnosed in
22   Snohomish County on January 20, 2020, HISTORYLINK.ORG (Apr. 20, 2020), https://historylink.org/
     File/21018.
23       34
            See Stacey Baca et al., Coronavirus diagnosed in Chicago woman; 2nd case in US, ABC 7
24   CHICAGO (Jan. 24, 2020), https://abc7chicago.com/coronavirus-chicago-in-ohare/5875738/.
         35
            See Kyle Hicks, 3rd US case of new coronavirus confirmed in Orange County, California,
25   officials say, ABC 7 DENVER (updated Jan. 26, 2020), https://www.thedenverchannel.com/news/
     national/3rd-us-case-of-new-coronavirus-confirmed-in-orange-county-california-officials-say.
26       36
            See Dep’t Health & Human Servs., Press Release, Secretary Azar Declares Public Health
27   Emergency for United States for 2019 Novel Coronavirus (Jan. 31, 2020), https://www.hhs.gov/
     about/news/2020/01/31/secretary-azar-declares-public-health-emergency-us-2019-novel-
28   coronavirus.html.
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 1   province.37 The virus, however, continued to spread rapidly, with new cases being reported across

 2   the country (and world). Washington state was an early epicenter, with an outbreak occurring at a

 3   long-term care center in Kirkland, Washington.38

 4           41.    Things took a particularly dire turn on February 26, when health officials confirmed

 5   that a California patient had tested positive for COVID-19 despite having no known exposure to the

 6   virus through travel or contact with an affected individual. This was the first confirmation that

 7   COVID-19 was being transmitted in the United States through “community spread,” suggesting that

 8   untold numbers of citizens were also affected but asymptomatic or otherwise not being tested for

 9   COVID-19.

10           42.    On February 29, a Washington man was the first reported COVID-19 death.39 The

11   virus continued to spread exponentially. The CDC has reported that during a three-week stretch

12   between late February and early March, COVID-19 cases in the U.S. “increased more than 1,000-

13   fold.”40 By March 17, COVID-19 had been detected in all 50 states,41 and 91 people had died from

14   COVID-19 in the U.S.42 Today, more than 600,000 people in the U.S. have died from COVID-19,

15   and no aspect of American life has gone unchanged.43

16                                 Emergency Declarations and Lockdowns

17      37
            See Alex Leary & Brianna Abbott, U.S. Imposes Entry Restrictions Over Coronavirus, WALL
18   STREET J. (updated Jan. 31, 2020), https://www.wsj.com/articles/u-k-reports-first-coronavirus-cases-
     as-china-allies-limit-ties-11580467046.
19       38
            See Nicole Acevedo & Minyvonne Burke, Washington state man becomes first U.S. death
     from coronavirus, NBC NEWS (updated Feb. 29, 2020), https://www.nbcnews.com/news/us-
20   news/1st-coronavirus-death-u-s-officials-say-n1145931.
         39
21          Id.
         40
            See Anne Schuchat, MD, CDC COVID-19 Response Team, Public Health Response to the
22   Initiation and Spread of Pandemic COVID-19 in the United States, February 24–April 21, 2020, 69
     MORBIDITY & MORTALITY WEEKLY REP. (May 8, 2020), https://www.cdc.gov/mmwr/volumes/69/
23   wr/mm6918e2.htm.
         41
24          See Associated Press, West Virginia, the last US state without coronavirus, confirms 1st case,
     FOX 8 NEWS (updated Mar. 17, 2020), https://myfox8.com/news/coronavirus/west-virginia-the-last-
25   us-state-without-coronavirus-confirms-1st-case/.
         42
            See Will Feuer, US coronavirus cases surpass 5,000, up fivefold from a week ago, CNBC
26   (updated Mar. 17, 2020), https://www.cnbc.com/2020/03/17/us-coronavirus-cases-surpass-5000-up-
     fivefold-from-a-week-ago.html.
27       43
            See CDC, Covid Data Tracker, https://covid.cdc.gov/covid-data-tracker/#datatracker-home
28   (last visited July 1, 2021).
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 1
             43.      Following the U.S. Department of Health and Human Services’ January 31, 2020
 2
     declaration of a national public health emergency related to COVID-19, state governments issued
 3
     their own declarations of emergency. The first statewide proclamation was issued by California
 4
     Governor Gavin Newsom on March 19, 2020.44 Declarations in other states followed in rapid
 5
     succession.
 6
             44.      Consistent with guidance from public health officials,45 state governments typically
 7
     coupled (or followed) their declarations of emergency with “stay home,” “shelter-in-place,” or other
 8
     types of lockdown orders requiring residents to remain in their homes to the extent feasible. By
 9
     April 20, 2020, 45 states had some form of “stay home” order in place, covering approximately 95%
10
     of the U.S. population.46 As the New York Times put it, “In a desperate race to stunt the spread of
11
     the coronavirus, millions of Americans have been asked to do what would have been unthinkable
12
     only a few months ago: Don’t go to work, don’t go to school, don’t leave the house at all, unless you
13
     have to.”47
14
             45.      Although the wording differed, state governments across political stripes echoed this
15
     resounding theme:
16
             -     Gov. Eric J. Holcomb (Indiana): “Hoosiers, hunker down.”48
17

18
        44
19          See Cal. Exec. Order N-33-20, supra note 25.
         45
            See, e.g., Ros Krasny et al., Fauci says it’s time to ‘hunker down’, ARKANSAS DEMOCRAT
20   GAZETTE (updated Mar. 16, 2020), https://www.arkansasonline.com/news/2020/mar/16/fauci-says-it-
     s-time-to-hunker-down-202/ (National Institute of Allergy and Infectious Diseases (NIAID) director
21   Dr. Fauci instructing Americans to “stay home” during March interviews with major news outlets);
     Dean Cole & Alison Main, Top infectious disease expert4 doesn’t rule out supporting temporary
22   national lockdown to combat coronavirus, CNN (updated Mar. 15, 2020), https://www.cnn.com/
     2020/03/15/politics/anthony-fauci-national-lockdown-bars-restaurants-cnntv/index.html (Dr. Fauci
23   informing the public in March 2020 that he would “like to see a dramatic diminution of the personal
     interaction that we see”).
24       46
            See Sara Mervosh et al., See Which States and Cities Have Told Residents to Stay at Home,
25   N.Y. TIMES (updated Apr. 20, 2020), https://www.nytimes.com/interactive/2020/us/coronavirus-stay-
     at-home-order.html.
26       47
            Id.
         48
27          See IndyStar, Indiana coronavirus updates: Governor orders Hoosiers to stay at home starting
     Wednesday (updated Mar. 24, 2020), https://www.indystar.com/story/news/health/2020/03/23/
28   indiana-coronavirus-updates-indianapolis-covid-19-latest-news/2896967001/.
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 1           -   Gov. Ned Lamont (Connecticut): “At this critical time it is essential that everyone just
                 stay home.”49
 2
             -   Gov. Brad Little (Idaho): “Our health care and public safety workers are putting
 3               themselves in harm’s way to respond to the coronavirus emergency, and we owe it to
                 them to do our part by following this statewide stay-home order.”50
 4
             -   Gov. Larry Hogan (Maryland): “This is a deadly public health crisis—we are no longer
 5               asking or suggesting that Marylanders stay home, we are directing them to do so.”

 6           -   Gov. Tim Walz (Minnesota): “We are asking you—because it is going to take
                 cooperation and collaboration—stay home.”51
 7
             -   Gov. Bill Lee (Tennessee): “[B]ecause with personal liberty comes great personal
 8               responsibility, all Tennesseans must do their part by staying at home whenever
                 possible.”52
 9
             -   Gov. Phil Scott (Vermont): “Vermonters are directed to stay at home or in their place of
10               residence, leaving only for essential reasons.”53

11           -   Gov. Jay Inslee (Washington): “The more of us who stay home, the fewer of us who will
                 be infected by COVID-19 and the more lives that will be saved.”54
12
             -   Gov. Chris Sununu (New Hampshire): “We can’t stress this enough – you should stay at
13               your house unless absolutely necessary.”55

14           -   Gov. Michelle Lujan Grisham (New Mexico): “This is quite frankly an instruction to stay
                 home.”56
15

16      49
             See Gov. Ned Lamont, Press Release, Governor Lamont Signs Executive Order Asking
     Connecticut Businesses and Residents: ‘Stay Safe, Stay Home’ (Mar. 20, 2020), https://portal.ct.gov/
17   Office-of-the-Governor/News/Press-Releases/2020/03-2020/Governor-Lamont-Signs-Executive-
     Order-Asking-Connecticut-Businesses-and-Residents-Stay-Safe.
18       50
             See State of Idaho, Statewide Stay-Home Order (updated Mar. 27, 2020),
19   https://coronavirus.idaho.gov/statewide-stay-home-order/.
         51
             Stay at home: These states have issued orders for residents not to go out amid COVID-19
20   pandemic, FOX 10 PHOENIX (updated Apr. 9, 2020), https://www.fox10phoenix.com/news/stay-at-
     home-these-states-have-issued-orders-for-residents-not-to-go-out-amid-covid-19-pandemic
21       52
            See Tenn. Exec. Order No. 22 (Mar. 30,2020), https://publications.tnsosfiles.com/pub/
22   execorders/exec-orders-lee22.pdf.
         53
             See VTDigger, ‘Stay home,’ Scott orders; relief measures pass, VT. CMTY. NEWSPAPER GRP.
23   (updated Apr. 2, 2020), https://www.vtcng.com/state_and_world/state_news/stay-home-scott-orders-
     relief-measures-pass/article_4a53daee-6f74-11ea-9b66-ef84b25aca39.html.
24       54
             See Austin Jenkins & Tom Banse, Washington Gov. Inslee Announces Statewide Stay-At-Home
25   Order, OPB (Mar. 23, 2020), https://www.opb.org/news/article/washington-governor-inslee-
     coronavirus-stay-at-home-order/.
26       55
             See See Gov. Chris Sununu (@GovChrisSununu), TWITTER (Mar. 26, 2020, 12:04 PM),
     https://twitter.com/govchrissununu/status/1243252555599265792.
27       56
             See Dan McKay (@mckaydan), TWITTER (Mar. 23, 2020, 2:30 PM), https://twitter.com/
28   mckaydan/status/1242201996028870656 .
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 1           -     Gov. Kate Brown (Oregon): “Stay Home, Save Lives.”57

 2           -     Gov. Ralph Northam (Virginia): “Our message to Virginians is clear: stay home.”58

 3
             46.      Although statewide “stay home” orders generally authorized residents to shop outside
 4
     the home for essential items if necessary, prominent health officials have encouraged consumers to
 5
     shop online to protect themselves and arrest the spread of COVID-19. In this regard, during the
 6
     pandemic the CDC advised all Americans to “[o]rder food and other items online for home delivery
 7
     or curbside pickup (if possible),” and to “[o]nly visit the grocery store, or other stores selling
 8
     household essentials, in person when you absolutely need to,” as “[t]his will limit your potential
 9
     exposure to others and the virus that causes COVID-19.”59 As for individuals sick with COVID-19,
10
     or potentially exposed, the CDC has instructed as follows: “Do not leave your home, except to get
11
     medical care. Do not visit public areas.”60
12
                                           Hoarding and Retail Scarcity
13

14           47.      The ability to shop outside the home was further curtailed, particularly in the early

15   stages of the pandemic (but also in subsequent waves), by hoarding and retail scarcity. As COVID-

16   19 spread through the United States, and government efforts to combat the virus intensified,

17   consumers began to stockpile essential items. By late January 2020, there were already reports that

18   consumers were buying out retail stock of surgical masks and N95 respirators.61 The research firm

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20
        57
21       See Or. Exec. Order No. 20-12 (Mar. 23, 2020), https://govsite-assets.s3.amazonaws.com/
     jkAULYKcSh6DoDF8wBM0_EO%2020-12.pdf.
22      58
            See Gov. Ralph S. Northam, Press Release, Governor Northam Issues Statewide Stay at Home
     Order (Mar. 30, 2020), https://www.governor.virginia.gov/newsroom/all-releases/2020/march/
23   headline-855702-en.html.
         59
24          See Centers for Disease Control & Prevention, Coronavirus Disease 2019 (COVID-19):
     Running Essential Errands (updated July 30, 2020), https://stacks.cdc.gov/view/cdc/91347/
25   cdc_91347_DS1.pdf(last visited June 19, 2021).
         60
            See Centers for Disease Control & Prevention, What to Do If You Are Sick (updated Mar. 17,
26   2021), https://www.cdc.gov/coronavirus/2019-ncov/if-you-are-sick/steps-when-sick.html..
         61
27          See Scottie Andrew, There’s been a run of surgical masks in the US because of the
     coronavirus scare. You don't need them, physicians say, CNN (updated Jan. 28, 2020),
28   https://www.cnn.com/2020/01/28/health/coronavirus-us-masks-prevention-trnd/index.html.
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 1   Nielsen found that the sale of medical supplies and rubbing alcohol surged nearly twenty percent

 2   after the first reported case of COVID-19 in the United States on January 30.62

 3           48.    In February and March, the reports of stockpiling, scarcity, and hoarding escalated.

 4   Nielsen found that sales of medical supplies and rubbing alcohol jumped 65 to 85 percent after there

 5   was a report of person-to-person transmission of COVID-19 on February 29. The firm also found

 6   that powdered milk sales jumped 85 percent, and rice and bean sales increased 25 to 37 percent.63

 7   For the week ending on March 7, 2020, compared to the same week a year earlier, sales of hand

 8   sanitizer, aerosol disinfectants, and multipurpose cleaners were 470, 385.3, and 148.2 percent higher,

 9   respectively.64 In keeping, on March 18, a news station in the San Francisco Bay Area posted an

10   article online, “Coronavirus impact: Why shoppers are hoarding toilet paper, supplies and

11   groceries.”65 The article discussed “one of the most visible reaction[s] to the coronavirus – empty

12   shelves at the grocery stores,” and interviewed a local shopper who had gone to a large grocery store

13   hoping to buy paper towels and toiletries, but came away with nothing.66 The article’s authors

14   interviewed a marketing professor, Michal Strahilevitz, to explain the hoarding and scarcity: “when

15   something becomes scarce, everybody wants more of it because they’re afraid next time . . . [t]here

16   won’t be any toilet paper at all.”67

17           49.    On March 13, 2020, the New York Times reported that shoppers were “flood[ing]

18   stores across the nation and emptied shelves, looking to stockpile groceries and household items to

19

20

21

22      62
           See Michael Finney & Randall Yip, Coronavirus impact: Why shoppers are hoarding toilet
     paper, supplies and groceries, ABC 7 NEWS (Mar. 18, 2020), https://abc7news.com/hoarding-
23   buying-frenzy-empty-grocery-shelves-toilet-paper-shortage/6025373/..
        63
24         Id.
        64
           See Camila Domonoske & Avie Schneider, Here’s What’s Been Flying Off Store Shelves, NPR
25   (Mar. 16, 2020), https://www.npr.org/2020/03/16/816404689/spiking-demand-for-sanitizer-canned-
     goods-leaves-stores-struggling-to-keep-up.
26      65
           See Finney & Yip, supra note 62.
27      66
           Id.
        67
28         Id.
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 1   prepare for uncharted territory.”68 “They grabbed milk and aspirin, paper towels and spaghetti. Cans

 2   of soup and bottles of laundry detergent. Olive oil and sanitizing wipes. With futures suddenly thrust

 3   into the unknown, they did what felt reassuring: panic shop.”69

 4           50.    A second wave of COVID-19 cases in November 2020 brought a second wave of

 5   hoarding and retail scarcity. On November 17, the New York Post reported that, “[w]ith COVID-19

 6   cases surging across the US, panic buying is back in vogue — as evidenced by a sea of empty

 7   shelves in supermarkets across the nation in scenes reminiscent of earlier this year, according to

 8   reports.”70

 9             Consumers Turn Increasingly to Online Purchasing, And Amazon in Particular

10           51.    In response to retail shortages and to limit exposure to the coronavirus, more

11   consumers have been doing their shopping online, increasing consumer demand and reliance on

12   online retailers. According to a Nielsen survey, in mid-March 2020, when the concerns over

13   COVID-19 transmission rapidly escalated, approximately “one-quarter of shoppers said they

14   expected to shop online more frequently—or for the first time—to avoid germs in public places.”71

15   The data confirm that this has occurred. The following graph shows a large increase in March sales

16   of consumer packaged goods (“CPG”), in store and online as compared to the same month a year

17   prior, with an astonishing 91 percent increase for online sales. In the two weeks ending on March 21,

18   upwards of 35 percent more people had shopped online for CPG items as compared with a typical

19   week.72

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        68
22         See Corina Knoll, Panicked Shoppers Empty Shelves as Coronavirus Anxiety Rises, N.Y.
     TIMES (Mar. 13, 2020), https://www.nytimes.com/2020/03/13/nyregion/coronavirus-panic-
23   buying.html.
        69
           Id.
24      70
           See Yaron Steinbuch, COVID-19 panic buying: Toilet paper, essentials fly off shelves again,
25   N.Y. POST (updated Nov. 17, 2020), https://nypost.com/2020/11/17/covid-19-panic-buying-toilet-
     paper-essentials-fly-off-shelves/.
26      71
           See NielsenIQ, Tracking the unprecedented impact of COVID-19 on U.S. CPG shopping
     behavior (Mar. 30, 2020), https://www.nielsen.com/us/en/insights/article/2020/tracking-the-
27   unprecedented-impact-of-covid-19-on-u-s-cpg-shopping-behavior/.
        72
28         See id.
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             52.   Data released by the Commerce Department shows that, overall, U.S. online “sales hit
15
     $791.70 billion in 2020, up 32.4% from $598.02 billion in the prior year.”73 As observers have
16
     noted, “[e]commerce thrived in 2020 because of store closures and shoppers’ fear of contracting the
17
     coronavirus in public. And figures from Q1 2021 show that the coronavirus is still making an impact
18
     on retail spending. Online sales increased 39% year over year in Q1 2021, nearly triple the 14%
19
     increase in Q1 2020, and faster than Q3 2020 and Q4 2020.”74
20
             53.   An unprecedented demand on internet retailers has also led to product scarcity online,
21
     with some retailers out of stock and experiencing shipping problems, including large delays.75
22
     Consumers thus have become only more reliant on Amazon—the world’s largest online retailer—for
23

24
        73
25          See Digital Commerce 360, Coronavirus adds $105 billion to US ecommerce in 2020 (June 16,
     2021), https://www.digitalcommerce360.com/article/coronavirus-impact-online-retail/.
26       74
            See id.
         75
27          See Katie Evans, A viral surge: How the coronavirus is impacting shipping and delivery of
     online orders, DIGITAL COMMERCE 360 (Mar. 20, 2020), https://www.digitalcommerce360.com/
28   2020/03/20/a-viral-surge-how-the-coronavirus-is-impacting-shipping-and-delivery-of-online-orders/.
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 1   essential consumer goods. Indeed, by July 2020, Amazon’s sales accounted for almost half of all

 2   U.S. retail e-commerce.76 By comparison, Amazon’s nine largest competitors had only a 1.1 to 6.6

 3   percent share.77

 4           54.    Industry observers have universally recognized that Amazon saw “unprecedented

 5   demand amid widespread coronavirus-related shutdowns.”78 As one observer put it, with “millions of

 6   Americans ordered to remain home, Amazon is now, more than ever, a lifeline for essentials for

 7   millions of people rather than just a convenient option for online shopping.”79 By April 2020,

 8   consumer spending on Amazon had increased nearly 100 percent over 2019.80 Fueled by the

 9   pandemic, Amazon’s sales increased $318.41 over 2020 as a whole, a 44.1% increase that eclipsed

10   already bullish forecasts for Amazon’s growth.81

11           55.    One reason Amazon has seen its sales increase is that it can supply essential goods

12   that are not always available on retail shelves in the COVID-19 era. And in terms of product

13   diversity, Amazon sells twelve million products on the Amazon.com platform, with a particularly

14

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20      76
            See eMarketer, Amazon Now Has Nearly 50% of US Ecommerce Market (July 16, 2018),
     https://www.emarketer.com/content/amazon-now-has-nearly-50-of-us-ecommerce-market.
21       77
            Id.
22      78
            See Sergei Klebnikov, Jeff Bezos Gets $6.4 Billion Richer As Amazon Stock Hits A New
     Record High, FORBES (updated Apr. 14, 2020), https://www.forbes.com/sites/sergeiklebnikov/2020/
23   04/14/jeff-bezos-gets-63-billion-richer-as-amazon-stock-hits-a-new-record-high/.
         79
24          See Jason Del Rey, Amazon was already powerful. The coronavirus pandemic cleared the way
     to dominance., VOX (Apr. 10, 2020), https://www.vox.com/recode/2020/4/10/21215953/amazon-
25   fresh-walmart-grocery-delivery-coronavirus-retail-store-closures.
         80
            See Facteus, Facteus Insight Report on Consumer Spending and Transactions (FIRST) (June 3,
26   2020), https://first.facteus.com/reports/first-report-6-3-2020.
         81
27          See Blake Droesch, Amazon dominates US ecommerce, though its market share varies by
     category, EMARKETER (Apr. 27, 2021), https://www.emarketer.com/content/amazon-dominates-us-
28   ecommerce-though-its-market-share-varies-by-category.
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 1   large range of consumer goods.82 In 2018, it was estimated that Amazon had 1.5 billion items listed

 2   for sale and over 200 million users.83

 3           55.    On March 4, 2020, Senator Edward J. Markey (D-Massachusetts) wrote a letter to

 4   Amazon CEO Jeff Bezos about reports of price gouging on Amazon.84 He stated that “[i]nternet-

 5   based retailers such as Amazon.com have a particular responsibility to guard against price gouging in

 6   current circumstances as consumers—who are finding the shelves of local brick-and-mortar stores

 7   bare, and who may wish to avoid venturing into crowded stores and shopping malls—turn to the

 8   internet.”85 Consistent with Senator Markey’s observation, and heeding the official guidance

 9   described above, consumers have turned to Amazon—the world’s dominant online retailer—to

10   obtain the goods they require to survive and endure in these unprecedented times.

11           56.    Amazon’s own policies further push online consumers to shop on its e-commerce

12   platform, Amazon.com. For example, under its “fair pricing” provisions, Amazon penalizes third-

13   party suppliers who allow their products to be sold for lower prices outside Amazon.com.86

14   Amazon’s “fair pricing” policy states “Amazon regularly monitors the prices of items on our

15   marketplaces,” and that if it sees “pricing practices” on the Amazon.com platform “that harm[]

16   customer trust, Amazon can remove the Buy Box [i.e., the coveted one-click-to-buy button87],

17   remove the offer, suspend the ship option, or, in serious or repeated cases, suspend[] or terminat[e]

18

19      82
            See 60pi, How Many Products Does Amazon® Carry? (May 2016),
     https://0ca36445185fb449d582-f6ffa6baf5dd4144ff990b4132ba0c4d.ssl.cf1.rackcdn.com/
20   IG_360piAmazon_9.13.16.pdf,; Amazon store directory, https://www.amazon.com/gp/site-
     directory?ref_=nav_em_T1_0_2_2_36__fullstore, last visited July 2, 2020.
21       83
            See Neel Mehta et al., Amazon changes prices on its products about every 10 minutes – here’s
22   how and why they do it, BUSINESS INSIDER (Aug. 10, 2018), https://www.businessinsider.com/
     amazon-price-changes-2018-8.
23       84
            See Sen. Edward J. Markey, Letter to Jeffrey P. Bezos, Amazon.com, Inc. (Mar. 4, 2020),
     https://www.markey.senate.gov/imo/media/doc/letter%20to%20Bezos%20re%20coronavirus%20pri
24   ce-gouging.pdf, last visited July 2, 2020.
         85
25          Id.
         86
            See, e.g., Guadalupe Gonzalez, You’re No Longer Required to Sell Products for Less on
26   Amazon. The Problem? If You Don’t, You’ve Got Another Penalty Coming, INC. (Mar. 13, 2019),
     https://www.inc.com/guadalupe-gonzalez/amazon-removes-price-parity-not-fair-price-rule-third-
27   party-sellers-antitrust-violations.html.
         87
28          See infra, ¶¶ 64, 66.
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 1   selling privileges.”88 One of the pricing practices Amazon identifies as “harmful” to customer trust is

 2   “[s]etting a price on a product or service that is significantly higher than recent prices offered on or

 3   off Amazon.”89

 4           57.    Under the “fair pricing” provision, “[a]ny single product or multiple products

 5   packages must have a price that is equal to or lower than the price of the same item being sold by the

 6   seller on other sites or virtual marketplaces.”90 The “fair pricing” provision “applies to both the

 7   individual product price as well as the collective price that the item or items are being sold for.”91

 8   Amazon’s “fair pricing” policy is in effect no different than its former explicit “price parity” (i.e.,

 9   platform most favored nation or “PMFN”) provision, and ensures that Amazon’s prices are equal to

10   or better than prices on competing e-commerce sites. With this policy in place, prices on Amazon are

11   generally favorable to online alternatives, further driving customers to Amazon during the COVID-

12   19 pandemic.

13                    Amazon Raised Prices Excessively During the COVID-19 Pandemic

14           58.    As the world’s largest online retailer, Amazon maintains its own inventory of

15   products, which it sells directly to consumers across the country. These Amazon-supplied products

16   account for approximately 32 percent of the revenue from of all products sold on Amazon.92 In

17   addition, Amazon sells products provided by third-party suppliers. These third-party product sales

18   account for approximately 68 percent of the sales revenue on the Amazon.com platform.93

19           59.    As the COVID-19 pandemic spread, Amazon’s prices for many essential goods

20   spiked dramatically. In his March 4, 2020 letter to Amazon CEO Jeff Bezos, Senator Markey

21   described “disturbing news reports of coronavirus-inspired price gouging on Amazon.com,”

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23      88
            See Amazon, Amazon Marketplace Fair Pricing Policy, https://sellercentral.amazon.com/gp/
     help/external/G5TUVJKZHUVMN77V (last visited July 1, 2021).
24       89
            Id. (emphasis added).
25       90
            See Feedvisor, Amazon Pricing Policy, https://feedvisor.com/university/amazon-pricing-
     policy/ (last visited July 1, 2021).
26       91
            Id.
27       92
            See eMarketer, supra note 76.
         93
28          Id.
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 1   including that bottles of Purell hand sanitizer, “typically sold for less than $10 per box,” were “listed

 2   at $400,” and similarly inflated prices existed for face masks.94 Senator Markey explained that, as

 3   “first steps,” Amazon had announced the prior week that it had removed listings for price gouging

 4   and reiterated that third-party suppliers must comply with Amazon’s “fair pricing policies,” but that

 5   there had been “continued reports of price gouging and a lack of transparency,” which left consumers

 6   exposed to unfair trade practices.95 He referenced a third-party Amazon supplier whose goods were

 7   sold on Amazon and described Amazon’s enforcement policy as “haphazard.”96

 8           60.    On March 11, 2020, the United States Public Interest Research Group Education Fund

 9   (“PIRG”) published a study showing that prices for half of certain public-health products sold on

10   Amazon—particularly, products in high demand during the COVID-19 crisis—had increased by

11   more than 50 percent in February above their 90-day average.97 These price increases were not

12   limited to products supplied by third parties. Of the essential products PIRG evaluated, nearly one in

13   six supplied by Amazon itself increased in price by more than 50 percent above the 90-day average.

14           61.    Referencing the PIRG study, attorneys general from 33 states sent Amazon a letter on

15   March 25, 2020, calling on Amazon to eliminate price gouging on its platform. The attorneys

16   general, including Washington’s, noted that “[a]s COVID-19 spreads throughout the country, it is

17   especially important unscrupulous sellers do not take advantage of Americans by selling products at

18   unconscionable prices.”98 The letter implored Amazon to take action to abide by and enforce “the

19   nation’s consumer protection laws.”99

20           62.    Other industry observers have analyzed Amazon’s pricing data and concluded that

21   Amazon “doubled its own prices on essential goods as the COVID-19 pandemic grew between early

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        94
            See Markey, supra note 84.
24      95
            Id.
25       96
            Id.
         97
26          See U.S. Pub. Interest Research Grp. Ed. Fund, supra note 7.
         98
            See Letter from 33 state attorneys general to Jeff Bezos (Mar. 25, 2020),
27   https://www.attorneygeneral.gov/wp-content/uploads/2020/03/03_25_2020_Multistate-letter.pdf.
         99
28          Id.
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 1   January and mid-March.”100 At one point in March, observers noted, Amazon “listed a four-pack of

 2   its own brand of toilet paper for $72.”101 Consumers confirmed these unconscionable prices,

 3   reposting the listings online hoping to warn others that Amazon itself was “participating in price

 4   gouging”:102

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19            63.   A September 2020 study by Public Citizen confirmed that, “[w]hile the initial media
20   and law enforcement focus of price gouging was on third-party sellers, . . . Amazon is directly selling
21   items at significantly above the regular market price despite publicly stating that the company is
22

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        100
24          See Adam Walser, Data shows Amazon raised prices during pandemic alongside sellers
     accused of price gouging, ABC 10 NEWS (updated Mar. 28, 2020), https://www.10news.com/news/
25   coronavirus/data-shows-amazon-raised-prices-during-pandemic-alongside-sellers-accused-of-price-
     gouging.
26      101
            Id.
        102
27          See u/cpotter, Amazon themselves participating in price gouging. $72 for toilet paper.,
     REDDIT (Mar. 14, 2020), https://www.reddit.com/r/mildlyinfuriating/comments/fiuwuo/
28   amazon_themselves_participating_in_price_gouging/.
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 1   fighting price gouging.”103 Public Citizen identified pandemic price increases by Amazon on its own

 2   inventory that ranged from 48% to 1,010%.104 The study concluded that “Amazon has misled the

 3   public, law enforcement, and policymakers about price increases during the pandemic.”105

 4            64.    Although certain offending listings have been removed, Plaintiffs’ independent

 5   investigation has confirmed that Amazon has sold products at unlawfully inflated amounts during the

 6   COVID-19 crisis, including before and after Amazon claimed to have cracked down on price

 7   gouging, and Amazon continues to do so. Moreover, these price increases occurred both on products

 8   supplied by third parties and on products supplied by Amazon. Unconscionable examples abound,

 9   starting with price increases Amazon imposed on its own inventory of products:

10      •     Aleve Back & Muscle Pain Tablet, Pain Reliever: Increased 233 percent, from $18.75 to
11            $62.40, immediately after the U.S. Department of Health and Human Services’ January 31,

12            2020 declaration of a national emergency.106

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25      103
             Public Citizen, supra note 8, at 12.
        104
26           Id.
         105
             Id. at 4.
27       106
             See https://camelcamelcamel.com/product/B07WDK2Z85 (last visited June 30, 2021); see
28   also https://keepa.com/#!product/1-B07WDK2Z85 (last visited June 30, 2021).
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 1      •     Curad Alcohol Prep Pads: Increases of more than 157 percent, from less than $7 to $17.99,
 2            following the U.S. Department of Health and Human Services’ January 31, 2020 declaration

 3            of a national emergency.107

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        •     North 760008A Silicone Full Facepiece Respirators – Face Piece Only: Increases of 61
14            percent, from $169.02 to $271.79, following the U.S. Department of Health and Human
15            Services’ January 31, 2020 declaration of a national emergency.108
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        107
             See https://camelcamelcamel.com/product/B00KOSP454 (last visited June 30, 2021).
27      108
             See https://camelcamelcamel.com/product/B00142BRF0 (last visited June 30, 2021);
28   https://keepa.com/#!product/1-B00142BRF0 (last visited June 30, 2021).
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 1      •     Faraon Black Beans, 4 lb: Increases up to 166 percent, from $4.98 to $13.26, following the
 2            U.S. Department of Health and Human Services’ January 31, 2020 declaration of a national

 3            emergency.109

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13      •     Cold-EEZE Cold Remedy Lozenges Honey Lemon: Increases of 111 percent, from $4.68
14            to $9.86 following the U.S. Department of Health and Human Services’ January 31, 2020
15            declaration of a national emergency.110
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26      109
             See https://camelcamelcamel.com/product/B07BBW3N81 (last visited June 30, 2021); see
     also https://keepa.com/#!product/1-B07BBW3N81 (last visited June 30, 2021).
27       110
             See https://camelcamelcamel.com/product/B000KOPX4O (last visited June 30, 2021); see
28   also https://keepa.com/#!product/1-B000KOPX4O (last visited June 30, 2021).
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 1      •     Lysol Disinfecting Wipes: Increases exceeding 86 percent, from less than $12 to $22.36,
 2            following the U.S. Department of Health and Human Services’ January 31, 2020 declaration

 3            of a national emergency.111

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        •     Germ Guardian Plugable Air Purifier & Sanitizer: Increases of 91 percent, from $34.99
13
              to $66.99, following the U.S. Department of Health and Human Services’ January 31, 2020
14
              declaration of a national emergency.112
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26      111
             See https://camelcamelcamel.com/product/B00Q70RCW6 (last visited June 30, 2021); see
     also https://keepa.com/#!product/1-B00Q70RCW6 (last visited June 30, 2021).
27       112
             See https://camelcamelcamel.com/product/B000G2BESO (last visited June 30, 2021); see
28   also https://keepa.com/#!product/1-B000G2BESO (last visited June 30, 2021).
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 1            65.   Additional excessive price increases on Amazon’s own inventory of products

 2   following the U.S. Department of Health and Human Services’ declaration of a national emergency

 3   include, but are not limited to, the following:

 4              OTHER PRICE INCREASES ON AMAZON INVENTORY DURING THE
                                  COVID-19 PANDEMIC
 5

 6                       PRODUCT                                      PRICE INCREASE

 7    Clorox Hydrogen Peroxide Disinfecting Wipes                            217%113
      Cottonnell Flushable Wet Wipes                                         156%114
 8    Dynarex Alcohol Prep Pad                                               122%115
      GoYoga Yoga Mat                                                        ~99%116
 9    Hibiclens Antibacterial / Antiseptic Skin                               97%117
      Cleanser
10
      Aleve Arthritis Cap Pain Relief                                        ~80%118
11    Spectrum Essential Organic Ground Flaxseed                              66%119
      StarKist Chunk Light Tuna in Water                                      59%120
12    Meyenberg Whole Powdered Goat Milk                                      57%121
      Ice Mountain 199% Natural Spring Water                                  54%122
13
      Medline Iodine Pads                                                    ~52%123
14

15      113
             See https://camelcamelcamel.com/product/B00K3U1B64 (last visited June 30, 2021); see also
16   https://keepa.com/#!product/1-B00K3U1B64 (last visited June 30, 2021).
         114
             See https://camelcamelcamel.com/product/B07B46WWN2 (last visited July 4, 2020). Price
17   increase estimated based on data available July 4, 2020. Pricing history for this product is no longer
     available on camelcamelcamel.com.
18       115
             See https://keepa.com/#!product/1-B005BFL0RQ (last visited June 30, 2021); see also
19   https://camelcamelcamel.com/product/B005BFL0RQ (last visited June 30, 2021).
         116
             See https://camelcamelcamel.com/product/B01IZDFWY2 (last visited June 30, 2021).
20       117
             See https://keepa.com/#!product/1-B00EV1D79A (last visited June 30, 2021);
21   https://camelcamelcamel.com/product/B00EV1D79A (last visited June 30, 2020).
         118
             See https://camelcamelcamel.com/Aleve-Arthritis-Naproxen-Reliever-
22   Headache/product/B07ZV5V19T (last visited June 30, 2021).
         119
23           See https://keepa.com/#!product/1-B00DOKFLYI (last visited June 30, 2021); see also
     https://camelcamelcamel.com/product/B00DOKFLYI (last visited June 30, 2021).
24       120
             See https://keepa.com/#!product/1-B00FWUO2IE (last visited June 30, 2021).
         121
25           See https://keepa.com/#!product/1-B004K69OMU (last visited June 30, 2021);
     https://camelcamelcamel.com/product/B004K69OMU (last visited June 30, 2021).
26       122
             See https://keepa.com/#!product/1-B01KCNJHYO (last visited June 30, 2021); see also
     https://camelcamelcamel.com/Ice-Mountain-Natural-8-ounce-plastic/product/B01KCNJHYO (last
27   visited June 30, 2021).
         123
28           See https://camelcamelcamel.com/product/B075KKP2BR (last visited June 30, 2021).
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 1    KIND Bars, Dark Chocolate Nuts & Sea Salt                                36%124
      Tide PODS Free and Gentle Laundry Detergent                              30%125
 2    3M Full Facepiece Reusable Respirator 6700                               22%126
 3

 4            66.    In addition to increasing prices on its own inventory during the COVID-19 pandemic,

 5   Amazon sold third-party-supplied products at vastly inflated prices and, by taking a share of the

 6   transaction proceeds, profited from the excess. Just by way of example:

 7      •     Disposable 3-Layer Masks: Increase of 1,800 percent, from $4.21 to $79.99, following the

 8            U.S. Department of Health and Human Services’ January 31, 2020 declaration of a national

 9            emergency.127

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24      124
             See https://keepa.com/#!product/1-B07PMTGM3C (last visited June 30, 2021);
     https://camelcamelcamel.com/product/B07PMTGM3C (last visited June 30, 2021).
25       125
             See https://keepa.com/#!product/1-B07JMK7STT (last visited June 30, 2021); see also
26   https://camelcamelcamel.com/product/B07JMK7STT (last visited June 30, 2021).
         126
             See https://keepa.com/#!product/1-B007JZ1K1C (last visited June 30, 2021); see also
27   https://camelcamelcamel.com/product/B007JZ1K1C (last visited June 30, 2020).
         127
28           See https://camelcamelcamel.com/product/B07W13JQW9 (last visited June 30, 2021).
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 1      •     Arm & Hammer Pure Baking Soda, 5 lb.: Increase of 1,523 percent, from $3.08 to $50.00
 2            following the U.S. Department of Health and Human Services’ January 31, 2020 declaration

 3            of a national emergency.128

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        •     Dynarex Corporation Surgical Procedure Masks: Increase of 376 percent, from $11.71 to
12
              $55.78, following the U.S. Department of Health and Human Services’ January 31, 2020
13
              declaration of a national emergency.129
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26      128
           See https://keepa.com/#!product/1-B00HNSJSX2 (last visited June 30, 2021).
        129
27         See https://camelcamelcamel.com/Dynarex-Corporation-2201-50-Surgical-
     Procedure/product/B00QO4MKN6 (last visited June 30, 2021). Base price of $11.71 identified on
28   camelcamelcamel.com as of July 4, 2020.
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 1      •     Disposable Earloop Face Masks: Increases exceeding 500 percent, from less than $20 to
 2            $120, following the U.S. Department of Health and Human Services’ January 31, 2020

 3            declaration of a national emergency.130

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15      •     Cold-EEZE Cold Remedy Lozenges Honey Lemon: Increases of 1,599 percent, from less
16            than $4.65 to $79.00, following the U.S. Department of Health and Human Services’ January

17            31, 2020 declaration of a national emergency.131

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26      130
             See https://camelcamelcamel.com/product/B078718WVB (last visited June 30, 2021). Base
     price of less than $20 identified on camelcamelcamel.com as of July 4, 2020.
27       131
             See https://keepa.com/#!product/1-B000KOPX4O (last visited June 30, 2021); see also
28   https://camelcamelcamel.com/product/B000KOPX4O (June 30, 2021).
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 1      •     Goya Black Beans Dry 14 oz.: Increases up to 521 percent, from $3.54 to $21.99, following
 2            the U.S. Department of Health and Human Services’ January 31, 2020 declaration of a

 3            national emergency.132

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        •     King Arthur Flour: Increases up to 400 percent, from $22.00 to $110.00, following the U.S.
12
              Department of Health and Human Services’ January 31, 2020 declaration of a national
13
              emergency.133
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24      132
             See https://keepa.com/#!product/1-B00IMLRH9G (last visited June 30, 2021). Amazon also
     sold its own inventory of this product in 2020 at prices up to $14.47, roughly four times the price
25   prevailing prior to the pandemic. See id.
         133
26           See https://camelcamelcamel.com/product/B078P9TBNW (last visited June 30, 2021); see
     also https://keepa.com/#!product/1-B078P9TBNW (last visited June 30, 2021). Amazon sold its
27   own inventory of this product during 2020 at prices exceeding $70, roughly three times the pre-
     pandemic price. See https://camelcamelcamel.com/product/B078P9TBNW (last visited June 30,
28   2021).
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 1
        •     Logitech HD Pro Webcam C920: Increase of at least 423 percent, from less than $65.99 to
 2
              $345, following the U.S. Department of Health and Human Services’ January 31, 2020
 3
              declaration of a national emergency.134
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15            67.    Additional excessive price increases on third-party supplied Amazon sales include,

16   but are not limited to, the following:

17    OTHER PRICE INCREASES ON THIRD-PARTY SUPPLIED PRODUCTS DURING THE
                              COVID-19 PANDEMIC
18
                         PRODUCT                                      PRICE INCREASE
19
      Quilted Northern Ultra Plush Toilet Paper 18                          1,044%135
20    Rolls
21    Nishiki Medium Grain Rice                                              880%136
      Lysol Disinfecting Wipes                                              ~745%137
22

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        134
             See https://camelcamelcamel.com/product/B006JH8T3S (last visited June 30, 2021); see also
24   https://keepa.com/#!product/1-B006JH8T3S (last visited June 30, 2021).
         135
25           See https://keepa.com/#!product/1-B07F1KLYVH (last visited June 30, 2021); see also
     https://camelcamelcamel.com/product/B07F1KLYVH (last visited June 30, 2021).
26       136
             See https://keepa.com/#!product/1-B00852ZN2U (last visited June 30, 2021); see also
     https://camelcamelcamel.com/product/B00852ZN2U (last visited June 30, 2021).
27       137
             See https://keepa.com/#!product/1-B00Q70RCW6 (last visited June 30, 2021); see also
28   https://camelcamelcamel.com/product/B00Q70RCW6 (last visited June 30, 2021).
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 1    Advil Coated Tablets Pain Reliever and Fever                        656%138
      Reducer
 2    Curad Alcohol Prep Pads                                             542%139
 3    StarKist Chunk Light Tuna in Water                                  517%140
      Kraft Easy Mac Microwavable Macaroni and                            485%141
 4    Cheese
      Barilla Pasta, Spaghetti                                            381%142
 5    Planters Salted Peanuts (48 Pack)                                   368%143
      Almond Milk                                                         330%144
 6
      Kraft Macaroni & Cheese                                             315%145
 7    Bounty Select-A-Size Paper Towels                                   313%146
      Chef Boyardee, Spaghetti & Meatballs                                295%147
 8    Asian Best Jasmine Rice                                             255%148
      Raven Powder-Free Disposable Black Nitrile 6                        214%149
 9
      Mi. Gloves
10    Better Than Bouillon Organic Chicken Base                           119%150

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12      138
             See https://keepa.com/#!product/1-B0000VLK4O (last visited June 30, 2021); see also
13   https://camelcamelcamel.com/product/B0000VLK4O, last visited (June 30, 2021).
         139
             See https://keepa.com/#!product/1-B00KOSP454 (last visited June 30, 2021); see also
14   https://camelcamelcamel.com/product/B00KOSP454 (last visited June 30, 2021).
        140
15           See https://keepa.com/#!product/1-B00FWUO2IE (last visited June 30, 2021).
     https://camelcamelcamel.com/product/B00FWUO2IE (last visited June 30, 2021).
16       141
             See https://keepa.com/#!product/1-B005ECO3H0 (last visited June 30, 2021); see also
     https://camelcamelcamel.com/product/B005ECO3H0 (last visited June 30, 2021).
17       142
             See https://keepa.com/#!product/1-B00WBGKJPW (last visited June 30, 2021); see also
18   https://camelcamelcamel.com/product/B00WBGKJPW (last visited June 30, 2021).
         143
             See https://keepa.com/#!product/1-B004TPU7LO (last visited June 30, 2021); see also
19   https://camelcamelcamel.com/product/B004TPU7LO (last visited June 30, 2021).
         144
20           See https://keepa.com/#!product/1-B07HL1NRGQ (last visited June 30, 2021); see also
     https://camelcamelcamel.com/product/B07HL1NRGQ (last visited June 30, 2021).
21       145
             See https://keepa.com/#!product/1-B011W21U0I (last visited June 30, 2021); see also
     https://camelcamelcamel.com/product/B011W21U0I (last visited June 30, 2021).
22      146
             See https://keepa.com/#!product/1-B010OW4KMW (last visited June 30, 2021); see also
23   https://camelcamelcamel.com/product/B010OW4KMW (June 30, 2021).
         147
             See https://keepa.com/#!product/1-B004XVZG1U (last visited June 30, 2021); see also
24   https://camelcamelcamel.com/product/B004XVZG1U (last visited June 30, 2021).
         148
25           See https://keepa.com/#!product/1-B019VPL9OK (last visited June 30, 2021); see also
     https://camelcamelcamel.com/product/B019VPL9OK (last visited June 30, 2021).
26       149
             See https://keepa.com/#!product/1-B002XXO5US (last visited June 30, 2021); see also
     https://camelcamelcamel.com/product/B002XXO5US (last visited June 30, 2021).
27       150
             See https://keepa.com/#!product/1-B00415IRQO (last visited June 30, 2021); see also
28   https://camelcamelcamel.com/product/B00415IRQO (last visited June 30, 2021).
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 1    Kirkland Signature Dried Cherries, 20 Ounce                               109%151
      Elder Berry Whole, dried 1lb                                               67%152
 2    Kirkland Signature Ibuprofen Liquid Softgels                               66%153
 3

 4       Amazon is Responsible for Unlawful Price Increases on All Products Sold on its Platform

 5            68.   Amazon is accountable for unlawfully increasing the prices on its own inventory of

 6   products sold or offered to consumers during the COVID-19 crisis. Amazon is also legally

 7   responsible for price gouging on the third-party products it markets to consumers. Far from serving

 8   as a passive intermediary, Amazon controls the sale and marketing of all third-party products on its

 9   platform and receives a portion of the transaction proceeds, typically around 15 percent of the sales

10   price (in addition to assessing recurring fees on third-party suppliers).154

11            69.   Amazon’s control over third-party products extends to pricing. For certain third-party

12   products, Amazon retains complete control of the prices at which they are offered. In particular,

13   third-party suppliers who enroll in Amazon’s “Sold by Amazon” (“SBA”) program are guaranteed a

14   “hands off the wheel selling experience,” through which Amazon retains absolute discretion to price

15   and reprice third-party inventory however Amazon sees fit. In the SBA program, the third-party

16   supplier is guaranteed revenue from the sale of its product on Amazon.com based on the Minimum

17   Gross Proceeds (“MGP”) price, which Amazon sets unilaterally. Moreover, whatever the MGP price

18   may be, the price listed for and sold to the Amazon consumer is set solely by Amazon, and may be

19   more or less than the MGP price—it is controlled by Amazon.155

20

21

22      151
             See https://keepa.com/#!product/1-B004CSGRS0 (last visited June 30, 2021); see also
23   https://camelcamelcamel.com/product/B004CSGRS0 (last visited June 30, 2021).
         152
             See https://keepa.com/#!product/1-B076JMVSW5 (last visited June 30, 2021); see also
24   https://camelcamelcamel.com/product/B076JMVSW5 (last visited June 30, 2021).
         153
25           See https://keepa.com/#!product/1-B000VK2QPQ (last visited June 30, 2021); see also
     https://camelcamelcamel.com/product/B000VK2QPQ (last visited June 30, 2021).
26       154
             See Dave Hamrick, Amazon FBA Fees: How They Work and How to Profit as a Seller,
     JUNGLESCOUT (Mar. 24, 2021), https://www.junglescout.com/blog/amazon-fba-fees/.
27       155
             See John Robb, The Amazon SBA Program (aka Sold by Amazon.com), ECOMCREW (Jan.
28   2020), https://www.ecomcrew.com/the-amazon-sba-program-aka-sold-by-amazon/.
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 1             70.   In other cases involving “large or strategic” third-party suppliers, Amazon also

 2   negotiates all pricing terms,156 or negotiates most-favored-nation protections assuring that third-party

 3   suppliers do not undercut Amazon’s prices when offering their products through other retail

 4   outlets.157

 5             71.   Amazon also offers third-party suppliers “Automated Pricing” services, whereby

 6   Amazon will automatically adjust the prices for third-party supplied products based on preset “rules”

 7   Amazon makes available to the suppliers.158 With Automated Pricing, Amazon generally adjusts the

 8   pricing of third-party products to match or stay in some relationship to competitor prices.159 This

 9   service coordinates pricing across Amazon’s platform. If competitive benchmarks increase for any

10   reason—including price gouging—Amazon adjusts all automatically priced products accordingly

11   across its ecosystem. If Amazon were concerned that certain products supplied by third parties were

12   being inflated compared to pre-emergency prices, it could have turned off its automatic repricing

13   software that set prices for specific products and sales beyond lawful limits.

14             72.   Even in instances where third-party suppliers retain some authority to set prices,

15   Amazon establishes the price ceiling and retains the ultimate right to reject a price. As discussed

16   previously, Amazon has a “fair pricing policy” pursuant to which it “regularly monitors the prices”

17   set by third-party suppliers.160 If Amazon identifies a price it considers too high relative to other

18   prices (on or off Amazon’s platform), Amazon may, among other things, remove the offer or

19   suspend the seller.161 Amazon may also remove the product from the “Buy Box” (discussed infra),

20

21

22       156
             See Online Platforms and Market Power, Part 2: Innovation and Entrepreneurship: Hearing
     of the H. Subcomm. on Antitrust, Commercial, & Admin. Law, Comm. on the Judiciary, 116th Cong.
23   23 (July 16, 2019) (responses of Amazon to Questions for the Record), https://docs.house.gov/
     meetings/JU/JU05/20190716/109793/HHRG-116-JU05-20190716-SD038.pdf.
24       157
             See id. at 1.
25       158
             See Amazon, Create a Pricing Rule, https://sellercentral.amazon.com/gp/help/external/help-
     page.html?itemID=201995750 (last visited July 1, 2021).
26       159
             See id.
27       160
             See Amazon Marketplace Fair Pricing Policy, supra note 88.
         161
28           See id.
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 1   the vehicle through which nearly all Amazon products are sold.162 Amazon also polices the price

 2   ceiling by suggesting that third-party sellers lower their prices.163 In other instances, Amazon will

 3   unilaterally reduce the price of third-party supplied products by providing the consumer with a

 4   “discount, which appears as a credit” in the consumer’s account.164 These “discounts” are provided

 5   exclusively by Amazon, not the third-party supplier.

 6            73.   Beyond pricing, Amazon controls all other aspects of transactions involving third-

 7   party supplied products. Consumers who purchase third-party products generally have no direct

 8   interaction with the third-party suppliers. Amazon promotes the products on its website, the contents

 9   of which Amazon controls entirely. Pursuant to the Amazon Services Business Solutions Agreement,

10   which third-party suppliers are required to sign to have their products sold on Amazon.com,

11   “Amazon has the right to determine, the design, content, functionality, availability and

12   appropriateness of its websites, selection, and any product or listing in the Amazon Stores, and all

13   aspects of each Service, including [a third-party supplier’s] use of the same. Amazon may assign any

14   of these rights or delegate any of its responsibilities.”165 The Agreement also grants Amazon a

15   royalty-free, non-exclusive, worldwide right and license to commercially or non-commercially

16   exploit in any manner the information provided by third-party suppliers.166

17            74.   When a consumer purchases a third-party supplied product, Amazon collects the

18   order, shipping, and payment information from the customer, and it processes all payments. Amazon

19   maintains the right to use mechanisms to rate, or allow shoppers to rate, these products and suppliers

20   and to make the ratings publicly available, which it frequently does at the time the consumer is

21   considering purchase.167

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23
        162
             See id.; see also H. Subcomm. on Antitrust, Comercial, & Admin. Law, supra note 156, at 23.
24      163
             See H. Subcomm. on Antitrust, Comercial, & Admin. Law, supra note 156, at 1–2.
25       164
             See id. at 25.
         165
26           See Amazon, Amazon Services Business Solutions Agreement at S-6,
     https://sellercentral.amazon.com/gp/help/external/G1791 (last visited July 1, 2021).
27       166
             See id. at 4.
         167
28           See id. at S.1.2.
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 1            75.   Most third-party supplied products sold by Amazon are “Fulfilled by Amazon” or

 2   “FBA.” This means Amazon warehouses the products at its own storage facilities. Amazon

 3   maintains electronic records tracking this inventory, which it can commingle with its own.168 When a

 4   customer orders an FBA product, Amazon packages and ships the product directly, while handling

 5   customer service aspects of the transaction.169 Amazon handles returns and reserves the right to

 6   fulfill customer returns with any “returned Amazon Fulfillment Units.”170 Amazon unilaterally

 7   determines which products may participate in the FBA program.171

 8            76.   Amazon also reserves “sole discretion” to “cancel[]” listings of third-party suppliers’

 9   products or “remov[e]” suppliers’ listing privileges for violation of Amazon policies,172 to

10   permanently “withhold any payments” to suppliers for engaging in, inter alia, “illegal activity” or

11   repeated violations of Amazon’s “Program policies,”173 and to “accept, calculate, and process

12   cancellations, returns, refunds, and adjustments for the benefit of customers.”174 Amazon prohibits

13   third-party suppliers from sending unsolicited communications to customers, mandates that all

14   communications must be sent through a service provided on the Amazon platform, and Amazon

15   keeps a record of all correspondence using this service.175

16

17
        168
             See id. at F-4.
18      169
             See JungleScout, The State of the Amazon Seller 2021 at 14, available for download at:
19   https://www.junglescout.com/amazon-seller-report/ (last visited July 1, 2021); see also generally
     Amazon Services Business Solutions Agreement, Fulfillment By Amazon Service Terms, supra note
20   165.
         170
             See Amazon Servs. Bus. Sols. Agmt., supra note 165, at F-6.2.
21       171
             See id. at F-1.
22      172
             See Amazon, Listing Restrictions, https://sellercentral.amazon.com/gp/help/external/
     200832300 (last visited July 1, 2021).
23       173
             See Amazon Servs. Bus. Sols. Agmt., supra note 165, at 2.
24       174
             See id. at S-2.2.
         175
25           See Amazon, Selling Policies and Seller Code of Conduct, https://sellercentral.amazon.com/
     gp/help/external/help.html?itemID=G1801 (last visited July 1, 2021); Amazon, Buyer-Seller
26   Messaging Service Overview, https://sellercentral.amazon.com/gp/help/external/
     help.html?itemID=202125900 (last visited July 1, 2021). Amazon also requires that its third-party
27   suppliers release it and agree to indemnify, defend, and hold it harmless against any claim, loss,
     damage, settlement, cost, expense, or other liability arising from, inter alia, sales of the suppliers’
28   products. See Amazon Servs. Bus. Sols. Agmt., supra note 165, at 6.1.
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 1            77.   Amazon also controls the entire “shopping experience” on its platform, using

 2   proprietary ranking mechanisms to direct consumers to third-party products of Amazon’s choosing.

 3   When a consumer searches for a generic product on Amazon—for example, “bleach”—the search

 4   results are curated and ranked by Amazon.176 As any seller might, Amazon gives particular products

 5   prominence or “shelf space.” Amazon does this not only by ranking search results, but also by

 6   assigning products certain designations, such as “Sponsored,” or “Amazon’s Choice,” or “Best

 7   Seller,” or “Amazon Prime.”177 The criteria for these designations is established by Amazon and,

 8   through them, Amazon places the weight of its brand behind particular third-party supplied products.

 9            78.   Amazon also determines which supplier will “win” particular transactions, effectively

10   allocating sales between itself and different third-party suppliers without any meaningful

11   involvement (or even knowledge) of the consumer. Specifically, from Amazon’s general search

12   results page, consumers can click on a particular product of interest and then are directed to a

13   separate page for that product. Many suppliers—including both Amazon and third-party suppliers—

14   provide the same products on Amazon and all of these suppliers share the same individual product

15   page. Amazon pushes consumers to particular suppliers through a “Buy Box” at the top right corner

16   of the product page. The Buy Box includes “Add to Cart” and “Buy Now” buttons for the supplier

17   Amazon has chosen.178 Only one supplier controls the Buy Box at any given point in time, and when

18   users click the “Add to Cart” or “Buy Now” button, they are buying from that Amazon-selected

19   supplier.179 Over 90 percent of sales on Amazon occur using the Buy Box.180

20            79.   Amazon allocates shares of the Buy Box such that the chosen supplier can change

21   throughout the day. Thus, a consumer who clicks “Add to Cart” for a particular product at 6:00 a.m.

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23      176
             Janger & Twerski, The Heavy Hand of Amazon: A Seller Not a Neutral Platform, 14
     BROOKLYN J. CORP., FIN & COMM. LAW 259 (Oct. 2019), https://brooklynworks.brooklaw.edu/bjcfcl/
24   vol14/iss2/3/.
         177
25           Id. at 264–65.
         178
             Id. at 268.
26       179
             See Leanna Zeibak, How to Win the Amazon Buy Box in 2021, TINUITI (Mar. 25, 2020),
27   https://tinuiti.com/blog/amazon/win-amazon-buy-box/.
        180
28            Id.
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 1   may be purchasing a product supplied by Supplier X, while a consumer who clicks the same button

 2   for the same product at 6:30 a.m. may be purchasing a product from Supplier Y, or a product

 3   supplied by Amazon itself.181 Thus, not only does Amazon control which supplied products will win

 4   transactions, and how many transactions Amazon itself will supply, Amazon allocates these shares

 5   down to the minute.

 6            80.   Text at the bottom of the “Buy Box” gives consumers some information as to who the

 7   supplier may be. The text generally states either “(1) sold by [name of third party] and shipped by

 8   [name of third party]; (2) sold by [name of third party] and fulfilled by Amazon; or (3) sold and

 9   shipped by Amazon.” But the reality is that Amazon substitutes freely between suppliers after the

10   sale.182 As noted above, most third-party-supplied products are “Fulfilled by Amazon” or “FBA.” By

11   default, Amazon warehouses FBA products by product type, not by supplier. Unless a supplier opts

12   out of this program, and Amazon makes it disadvantageous to do so, all products of the same type

13   are “commingled.”183 Accordingly, when a consumer purchases, for example, Clorox Disinfecting

14   Wipes from Amazon, Amazon will generally fulfill this order from its commingled stock of Clorox

15   Disinfecting Wipes regardless of what “supplier” was identified at the time of sale. The actual

16   product the consumer receives could thus be one supplied by any third-party supplier, or by Amazon

17   itself. And again, Amazon choses whose product the consumer will receive without any input from

18   the consumer or third-party suppliers involved.

19            81.   For all of the foregoing reasons, Amazon functions as the “seller” of all third-party

20   supplied products on its platform. At an absolute minimum, Amazon facilitates these sales. Not only

21   does Amazon control pricing—either by fixing the price point or price ceiling—Amazon interacts

22   directly with customers to execute transactions, promotes particular third-party-supplied products,

23   and often fulfills orders from a commingled stock. Amazon controls the entire shopping experience

24   on its platform, regardless of who supplies the products sold. Amazon is responsible when it sells

25

26      181
            Janger & Twerski, supra note 176, at 270.
27      182
            Id. at 269.
        183
28          Id.
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 1   third-party-supplied products at prices that exceed legal prohibitions on price gouging. Nothing is

 2   sold on Amazon, at any price, without Amazon’s active participation and facilitation.

 3            82.   Amazon cannot deflect blame on third parties for a separate but related reason—

 4   Amazon knew third-party suppliers would increase prices by unconscionable amounts during the

 5   pandemic, and knowingly allowed it to happen.

 6            83.   As Amazon is aware, third-party suppliers have previously inflated prices to

 7   unlawfully capitalize on emergencies, most prominently during Hurricane Irma in 2017.184

 8   Moreover, wherever COVID-19 has spread, it has led to scarcity of essential consumer items and

 9   substantial price inflation. Amazon was on notice that the same dynamic would play out in the

10   United States once the virus reached its shores, or even sooner.

11            84.   Price inflation on third-party supplied products was not only foreseeable; Amazon

12   knew that it was occurring in real time and has claimed to have longstanding rules and systems to

13   prevent and stop price gouging as a violation of its “fair pricing” policies (those claims, as shown in

14   this Complaint, have been proven false). Amazon assiduously tracks pricing on its platform to best

15   position itself in the marketplace. Amazon thus knew that prices on third-party-priced products were

16   exceeding legal thresholds, often by unconscionable amounts. Amazon had an obligation to prevent

17   this from occurring, and to stop it once it occurred, which Amazon could readily do by excising

18   offending third-party suppliers and taking down excessively priced listings. Amazon retains

19   contractual authority to take these very steps.185

20            85.   Amazon did not act, however, until late February 2020, when it first began to suspend

21   and take down some (but not close to all) products priced excessively by third parties.186 Moreover,

22   while Amazon’s actions made for good publicity, they did not effectively address—much less

23

24      184
             See Jennifer Calfas, Amazon Is Removing $100 Packs of Water After Being Accused of
25   Hurrican Irma Price Gouging, MONEY (Sept. 7, 2017), https://money.com/amazon-bottled-water-
     price-gouging-hurricane-irma-florida/.
26       185
             See Amazon Marketplace Fair Pricing Policy, supra note 88.
         186
27           See Annie Palmer, Amazon cracks down on coronavirus price gouging and products making
     false claims, CNBC (Feb. 27, 2020), https://www.cnbc.com/2020/02/27/amazon-cracks-down-on-
28   coronavirus-price-gouging-false-claims.html.
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 1   eliminate—the problem. Amazon continued to sell third-party priced products at unconscionably

 2   inflated prices, as the examples cited in this Complaint demonstrate. Notably in this regard, after

 3   Amazon took its limited initial steps to address price gouging by third-party-suppliers, Senator

 4   Markey commented on Amazon’s claim that it was addressing price gouging, writing on March 4,

 5   2020 that despite Amazon’s purported efforts, there had been “continued reports of price gouging”

 6   on the platform.187

 7            86.    As public outcry swelled, Amazon was compelled on March 23, 2020, to suspend

 8   3,900 United States accounts associated with products Amazon offered at excessive prices.188 On

 9   that same date, Amazon issued a blog post stating that it has “zero tolerance for price gouging” and

10   claimed to have had “longstanding policies and systems to prevent this harmful practice.”189 But

11   those assertions already had been proven false with the gouging ramping up and ongoing for months.

12   And Amazon’s actions, even at that point, were again inadequate. Just two days later, 33 attorneys

13   general, including Washington Attorney General Bob Ferguson, advised Amazon the “new

14   protections” implemented by Amazon had “failed to remove unconscionably priced critical supplies

15   during the COVID-19 pandemic.”190 To this day, third parties are pricing critical goods on the

16   Amazon platform at unconscionable levels, and Amazon is selling those goods across the country.

17            87.    Amazon should have had adequate systems in place long before COVID-19 reached

18   the U.S. to monitor and eliminate price gouging on its platform. As 33 attorneys general have

19   advised, Amazon should not simply react to third-party price inflation—it should have policies to

20

21      187
              See Markey, supra note 84.
        188
22           See Josh Rivera, Amazon removes more than 3,900 seller accounts from US store due to
     ‘coronavirus-based price gouging’, USA TODAY (updated Mar. 24, 2020),
23   https://www.usatoday.com/story/money/2020/03/23/coronavirus-amazon-price-gouging-removed-
     accounts/2904729001/. In a letter to shareholders published on April 16, 2020, Amazon CEO Jeff
24   Bezos indicated that Amazon had suspended “more than 6,000 selling accounts globally.” Amazon
     Annual Report, Ex. 99.1 (2020), available at https://www.sec.gov/Archives/edgar/data/1018724/
25   000119312520108427/d902615dex991.htm. The letter did not specify how many of these accounts
     were operating in the United States, or whether that number is any greater than the 3,900 United
26   States accounts suspended previously.
         189
             See Amazon, Price gouging has no place in our stores (Mar. 23, 2020),
27   https://blog.aboutamazon.com/company-news/price-gouging-has-no-place-in-our-stores.
         190
28           See Letter from 33 attorneys general, supra note 98.
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 1   “prevent unconscionable price increases from occurring in the first place.”191 Amazon has the

 2   technology and sophistication to do this. In a May 13, 2020 blog post, Amazon acknowledged that it

 3   maintains “dynamic automated technology to proactively seek out and pull down unreasonably

 4   priced offers.”192 Amazon did not, however, deploy this system proactively to prevent unlawful price

 5   increases.

 6            88.   Ultimately, the most troubling aspect of Amazon’s “efforts” to address third-party

 7   price gouging is not that they came late, or were ineffectual, or that Amazon profited on these sales,

 8   all of which is true; it is that while Amazon actively publicized these efforts, Amazon itself

 9   continued to inflate prices on its own inventory of products in amounts that satisfy any

10   definition of “price gouging.”

11        Amazon Price-Gouged Its Way to Unprecedented Revenues During the COVID-19 Crisis

12            89.   With rampant price gouging, Amazon has exploited unprecedented consumer demand

13   during the COVID-19 pandemic to reap extraordinary profits. Amazon’s 2020 first-quarter net sales

14   reached $75.5 billion, up 26 percent from the first quarter of 2019.193 This means that through the

15   first quarter Amazon had generated $10,000 every second of every day in 2020. Amazon continued

16   to profit throughout the pandemic. Its 2020 revenues were up 38%, an increase of more than $100

17   billion, and its net profits spiked a remarkable 84%.194

18            90.   Despite the stock market’s collapse in 2020, there has never been a better time to be

19   an Amazon shareholder. As one leading analyst stated in April 2020:

20                  [Amazon] has achieved a feat that many investors on Wall Street would
                    regard as impossible in a stock market that’s fallen sharply off its highs
21                  this year. Amazon’s shares have soared more than 40% in the past
22
        191
             See id.
23      192
             See Brian Huseman, Amazon Vice President of Public Policy, It’s time for Congress to
24   establish a federal price gouging law (May 13, 2020), https://blog.aboutamazon.com/policy/its-time-
     for-congress-to-establish-a-federal-price-gouging-law.
25       193
             See Amazon, Press Release, Amazon.com Announces First Quarter Results (Apr. 30, 2020),
     https://s2.q4cdn.com/299287126/files/doc_financials/2020/Q1/Amazon-Q1-2020-Earnings-
26   Release.pdf.
27
         194
             See Shelley E. Kohan, Amazon’s Net Profit Soars 84% With Sales Hitting $386 Billion,
     FORBES (Feb. 2, 2021), https://www.forbes.com/sites/shelleykohan/2021/02/02/amazons-net-profit-
28   soars-84-with-sales-hitting-386-billion/?sh=51d2e1b71334.
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 1                  month alone to a new record high as of early afternoon trading on
                    Thursday, giving the company a market value of more than $1.2
 2                  trillion.195
 3
              91.   Jeff Bezos, Amazon’s president and CEO, has seen his personal fortune swell during
 4
     the COVID-19 pandemic. Among other assets, Mr. Bezos owns an 11.2 percent stake in Amazon. On
 5
     April 14 alone, when Amazon stock surged more than 5 percent, Mr. Bezos’s fortune grew by some
 6
     $6.3 billion. Overall, Jeff Bezos’s personal wealth increased by $75 billion (or approximately $205
 7
     million per day) as the pandemic raged throughout 2020.196
 8
                                    V.     CHOICE OF LAW ALLEGATIONS
 9
              92.   Washington law applies to Plaintiffs’ claims by virtue of a Washington choice-of-law
10
     provision that is set forth in “conditions of use” that appear on Amazon’s website. These conditions
11
     of use are available to consumers when they sign up for an Amazon account and make subsequent
12
     purchases. In pertinent part, the choice-of-law clause contained in the conditions of use provides:
13
                    By using any Amazon Service, you agree that applicable federal law,
14                  and the laws of the state of Washington, without regard to principles of
                    conflict of laws, will govern these Conditions of Use and any dispute of
15                  any sort that might arise between you and Amazon.

16                                   VI.   CLASS ACTON ALLEGATIONS

17            93.   Plaintiffs bring this proposed action on behalf of themselves and, pursuant to Rules

18   23(a), 23(b)(2) & 23(b)(3) of the Federal Rules of Civil Procedure, on behalf of the following class

19   (collectively, the “Class”):

20                  All persons who purchased any consumer good or food item on
                    Amazon.com after January 31, 2020 at a price at least 15 percent
21                  greater than the price charged on Amazon.com for the same consumer
                    good or food item before January 31, 2020.
22
              94.   As discussed above, January 31, 2020, is the date on which the U.S. Department of
23
     Health and Human Services declared a national emergency related to COVID-19. This is a
24
     conservative class cut-off date given that alarm related to COVID-19 predated the emergency
25

26
        195
             See Nathan Reiff, Amazon Earnings: What Happened, INVESTOPEDIA (updated July 30, 2020),
27   https://www.investopedia.com/amazon-earnings-4692665.
         196
28           See Taylor, supra note 2.
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 1   declaration, and Amazon was aware long before January 31, 2020, that consumers were turning to

 2   online retail to safely obtain the consumer goods they required. As addressed below, the class

 3   definition’s 15% threshold for unlawful price increases is also conservative given that a lesser

 4   increase could readily be deemed unfair under the WCPA, particularly because many states with

 5   analogous consumer-protection laws prohibit increases of 10% or any amount during declared

 6   emergencies.

 7          95.     Plaintiffs reserve the right to revisit the Class definition based upon information

 8   learned through discovery.

 9          96.     Excluded from this proposed Class are Defendant; Defendant’s affiliates and

10   subsidiaries; Defendant’s current or former employees, officers, directors, agents, and

11   representatives; and the district judge or magistrate judge to whom this case is assigned, as well as

12   those judges’ immediate family members.

13          97.     This action may appropriately proceed as a class action because Plaintiffs seek

14   injunctive relief that will apply to the Class as a whole and, further, because Plaintiffs will prove the

15   elements of their damages claims with predominantly common evidence.

16          98.     Numerosity: The proposed Class includes thousands (and potentially millions) of

17   consumers who paid unlawfully inflated prices for products on Amazon.com. The members of this

18   Class are so numerous that individual joinder of all Class members is impracticable. The precise

19   number of Class members is not available to Plaintiffs at this time, but the number and identity of

20   individual Class members can be ascertained from Amazon’s books and records.

21          99.     Commonality and Predominance: Numerous questions of law and fact are common

22   to the claims of the Plaintiffs and members of the proposed Class, and these common questions

23   predominate over any questions affecting only individual Class members. These include, but are not

24   limited to:

25                  (a)     Whether Amazon inflated prices during the COVID-19 pandemic;

26                  (b)     Whether those price increases were “unfair” under the WCPA;
27                  (d)     Whether Amazon unlawfully increased prices on its own inventory of

28   products;
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 1                     (e)    Whether Amazon is liable for price increases on products supplied by third-

 2   parties;

 3                     (f)    Whether Amazon exercised reasonable care to monitor and prevent price

 4   inflation by third-party Amazon suppliers;

 5                     (g)    Whether and the extent to which consumers were harmed by unlawful price

 6   increases on Amazon, and the extent of their damages;

 7                     (h)    The extent to which Amazon was enriched unjustly;

 8                     (i)    Whether Amazon should be subjected to punitive damages, and the

 9   appropriate amount; and

10                     (j)    Whether Plaintiffs are entitled to injunctive relief and the appropriate scope of

11   any equitable decree.

12              100.   Typicality: Plaintiffs’ claims are typical of the claims of all Class members because,

13   among other things, all Class members were comparably and similarly injured by Amazon’s

14   wrongful conduct alleged herein. Plaintiffs, like all Class members, purchased products from

15   Amazon at prices that were unlawfully inflated during the COVID-19 pandemic.

16              101.   Adequacy: Plaintiffs will represent and protect the interests of the proposed Class

17   adequately and fairly. Plaintiffs have retained counsel competent and experienced in complex

18   class-action litigation. Plaintiffs have no interests that are antagonistic to those of the proposed Class,

19   and their interests do not conflict with the interests of the proposed Class members they seek to

20   represent.

21              102.   Injunctive and declaratory relief: By way of the conduct described in this Class

22   Action Complaint, Defendant has acted on grounds that apply generally to the proposed Class.

23   Accordingly, final injunctive relief or corresponding declaratory relief is appropriate respecting the

24   Class as a whole.

25              103.   Superiority: A class action is superior to all other available methods for the fair and

26   efficient adjudication of this controversy, and no unusual difficulties are likely to be encountered in
27   its management. Even if members of the proposed Class could sustain individual litigation, that

28   course would not be preferable to a class action because individual litigation would increase the
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 1   delay and expense to the parties due to the complex factual and legal controversies present in this

 2   matter. Here, the class-action device will present far fewer management difficulties, and it will

 3   provide the benefit of a single adjudication, economies of scale, and comprehensive supervision by

 4   this Court. Further, uniformity of decisions will be ensured.

 5                                      VII.   CLAIMS FOR RELIEF

 6                                       FIRST CAUSE OF ACTION

 7         VIOLATION OF WASHINGTON CONSUMER PROTECTION ACT (“WCPA”)
                             (WASH. REV. CODE § 19.86)
 8
            104.    Plaintiffs repeat and re-make every allegation above as if set forth herein in full.
 9
            105.    The WCPA renders unlawful “[u]nfair methods of competition and unfair or
10
     deceptive acts or practices in the conduct of any trade or commerce.” Wash. Rev. Code § 19.86.020.
11
            106.     Although the WCPA does not define what constitutes an “unfair” act or practice, the
12
     prohibition must “be liberally construed” to ensure “that its beneficial purposes may be served.” Id.
13
            107.    Interpretation of the WCPA is informed “by final decisions of the federal courts and
14
     final orders of the federal trade commission interpreting the various federal statutes dealing with the
15
     same or similar matters.” Id. Section 5(a) of the Federal Trade Commission Act (FTC Act) (15
16
     U.S.C. § 45) likewise prohibits “[u]nfair or deceptive acts or practices in or affecting commerce.”
17
     An act or practice may be deemed unfair under the FTC Act if it “causes or is likely to cause
18
     substantial injury to consumers which is not reasonably avoidable by consumers themselves and not
19
     outweighed by countervailing benefits to consumers or to competition.” 15 U.S.C.A. § 45(n). An
20
     act also may be deemed unfair if it is unethical, oppressive, or unscrupulous.
21
            108.    As set forth herein, Amazon violated the WCPA by charging consumers grossly
22
     inflated and thus “unfair” prices during the COVID-19 pandemic.
23
            109.    For purposes of this Complaint, Plaintiffs allege that a price increase of 15% on any
24
     consumer good or food item during a declared emergency is “unfair” for purposes of the WCPA.
25
     This is a conservative threshold. Numerous states with analogous consumer-protection laws prohibit
26
     price increases of 10% or more, and at least one prohibits any price increase once an emergency has
27

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 1   been declared. See, e.g., Cal. Penal Code § 396(b), Ark. Code § 4-88-303(a), W. Va. Code § 46A-

 2   6J-3; Haw. Rev. Stat. Ann § 127A-30(a)(1).

 3            110.   A nationwide emergency related to COVID-19 was first declared by the U.S.

 4   Department of Health and Human Services on January 31, 2020, and a national emergency has

 5   existed by executive decree ever since.197 This Complaint’s January 31, 2020, cut-off date for price-

 6   gouging is conservative because public alarm and retail hoarding were occurring prior to the January

 7   31, 2020 emergency declaration. Amazon knew no later than January 31, 2020 (and likely far

 8   earlier) that there was increased demand for online retail, and its services in particular. Amazon had

 9   a responsibility not to gouge consumers who turned to online retail increasingly as a means of

10   obtaining essential goods safely during an escalating and alarming public health crisis.

11            111.   Under the FTC Act framework, which informs the WCPA, a price increase of 15%

12   during a declared emergency is unfair because it causes substantial consumer injury, particularly

13   where, as here, the increases were widespread, affecting potentially millions of consumers across the

14   country and greatly affecting the public interest. Consumers lacked reasonable means to avoid their

15   injuries, as the exorbitant prices they paid attest. Nor are there any countervailing consumer or

16   competition benefits to price gouging. The only party that benefitted here was Amazon, which has

17   reaped blockbuster profits by charging excessive prices throughout the pandemic. Amazon’s acts in

18   taking advantage of desperate consumers during the pandemic to charge exorbitant prices was also

19   unethical, oppressive, and unscrupulous.

20            112.   Increasing prices excessively during a pandemic is also unethical, oppressive, and

21   unscrupulous, and thus “unfair” for purposes of the WCPA.

22

23

24
        197
             See U.S. Dep’t of Health & Human Servs., supra note 3. On March 13, 2020, President
     Trump followed the Health and Human Services Division by declaring a national emergency
25   (effective March 1, 2020) pursuant to the National Emergencies’ Act. See 85 Fed. Reg. 15,337
     (2020), https://www.federalregister.gov/documents/2020/03/18/2020-05794/declaring-a-national-
26   emergency-concerning-the-novel-coronavirus-disease-covid-19-outbreak. On February 24, 2021,
     President Biden extended the national emergency declaration for another year. See Pres. Joseph R.
27   Biden, Jr., Letter to U.S. Congress (Feb. 24, 2021), https://www.whitehouse.gov/briefing-
     room/statements-releases/2021/02/24/a-letter-on-the-continuation-of-the-national-emergency-
28   concerning-the-coronavirus-disease-2019-covid-19-pandemic/.
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 1          113.    On information and belief, Amazon’s price increases were not directly attributable to

 2   additional costs imposed on Amazon by suppliers, and Amazon increased prices on many products in

 3   excessive and unfair amounts even when accounting for any additional costs and the markup

 4   Amazon customarily applies to such products.

 5          114.    Amazon sells, and facilitates the sale of, all products available on Amazon.com.

 6   Thus, Amazon is liable under the WCPA for all unlawful prices on its platform. This includes sales

 7   involving Amazon’s own inventory of products. It also includes sales involving products supplied by

 8   third parties. Consumers purchasing third-party-supplied products interact almost exclusively with

 9   Amazon, which, functioning as the seller, controls virtually all aspects of the transaction, including

10   by establishing a price ceiling, in many cases setting the specific selling price below that ceiling, and

11   maintaining final authority to remove any product listing. Amazon promotes third-party supplied

12   products on its platform, including by offering them for sale through its “Buy Box,” and otherwise

13   choosing to rank, curate, and give prominence to the sale of specific products. Amazon asserts

14   effective control over which supplied products will win transactions and how many products

15   Amazon itself will supply, and allocates these shares down to the minute. Amazon accepts payment

16   when third-party-supplied products are purchased and handles all material aspects of the transaction.

17   As with any seller, Amazon profits when it sells third-party-supplied products, collecting per-

18   transaction and other fees. And because Amazon’s fees are tied to the purchase price, Amazon

19   profits directly when third-party products are sold at higher prices.

20          115.    For all of these reasons, and as elaborated further herein, Amazon causes and is

21   responsible for all price-gouging on its platform, including sales (or sales offers) involving third-

22   party supplied products.

23          116.    As a direct and proximate result of Amazon’s unfair business acts and practices,

24   Plaintiffs are entitled to injunctive relief and actual damages, trebled to the extent permitted under

25   Wash. Rev. Code § 19.86.090. Plaintiffs are also entitled to the cost of suit, including reasonable

26   attorney’s fees.
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 1                                     SECOND CAUSE OF ACTION

 2                                              NEGLIGENCE

 3          117.    Plaintiffs repeat and re-make every allegation above as if set forth herein in full.

 4          118.    Amazon has a non-delegable duty to apply a level of reasonable care commensurate

 5   with the foreseeable harms arising from its control, maintenance, and management of the largest

 6   online retail platform in the world. This encompasses a duty to ensure that, during a declared public

 7   emergency, consumer goods or food items are not sold on the platform at excessive prices.

 8          119.    As the COVID-19 crisis emerged in January 2020, and even prior, it was foreseeable

 9   that third-party suppliers on Amazon would attempt to inflate prices excessively for many goods

10   essential to enduring and combatting the public health crisis. Such price inflation has occurred on

11   Amazon’s platform in prior emergencies, and was occurring wherever COVID-19 spread. Amazon

12   knew it would occur in response to COVID-19.

13          120.    Amazon has the ability, technological capacity, and contractual right to prevent price

14   gouging during a declared emergency. Amazon maintains complete control over its platform. It has

15   oversight on the prices of all products sold on the platform and, by contract with its third-party

16   suppliers, may unilaterally remove or suspend any listing priced excessively.

17          121.    Amazon, its agents, servants, and/or employees, failed to exercise ordinary care and

18   failed to comply with existing standards of care in the following acts and/or omissions:

19              •   Failing to maintain and/or implement systems to detect price increases by third-party
20                  suppliers;

21              •   Listing products with excessive price increases during the COVID-19 pandemic;
22              •   Failing to remove (or timely remove) product listings with excessive price increases
23                  during the COVID-19 pandemic;

24              •   Failing to remove from the Amazon platform (or timely remove) third-party suppliers
25                  engaged in price gouging;

26              •   Failing to adequately investigate reports of excessive price inflation on third-party
27                  supplied products; and

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 1               •   Facilitating the listing, sale, and delivery of products priced at excessive levels on its
 2                   platform.

 3           122.    Given the foreseeability of price gouging during the COVID-19 pandemic, a

 4   reasonable online retailer in Amazon’s position would have had systems in place to prevent price

 5   gouging from ever occurring, and would have taken prompt, aggressive steps to stamp it out entirely.

 6   Amazon did not do so. Despite Amazon’s vast resources and sophistication, it lacked or failed to

 7   implement systems to prevent unlawful price increases on third-party supplied products, and the acts

 8   Amazon ultimately did take to address price gouging came far too late, and were ineffectual.

 9           123.    Amazon knew that, because of its failure to exercise reasonable care, consumers such

10   as Plaintiffs would be overcharged.

11           124.    Amazon’s negligence was the proximate cause and substantial factor in causing

12   Plaintiffs’ economic loss. Had Amazon exercised reasonable care, Plaintiffs would not have paid

13   excessive amounts for products they purchased from Amazon. Plaintiffs are entitled to compensatory

14   and equitable damages and declaratory relief in an amount to be proven at trial.

15                                        THIRD CAUSE OF ACTION

16                                          UNJUST ENRICHMENT

17           125.    Plaintiffs repeat and re-make every allegation above as if set forth herein in full.

18           126.    Amazon has exploited vulnerable consumers by selling, and offering for sale,

19   products at excessive prices during COVID-19 pandemic. Facing retail scarcity and official warnings

20   as to the risks of public interaction, consumers have turned to Amazon as a lifeline to obtain goods

21   vital to their safety, health, and well-being. Basic principles of equity, justice, and fair dealing,

22   prohibit sellers from capitalizing on such exigencies to charge consumers excessive prices.

23           127.    By selling consumer goods, emergency supplies, medical equipment, and other

24   essential products at excessive and inflated prices during the COVID-19 pandemic, Amazon was

25   unjustly enriched. Amazon profited on both the sale of its own inventory as well as products supplied

26   by third parties, for which Amazon retains a portion of the transaction proceeds. All of these inflated
27   profits were conferred by Plaintiffs and the class they seek to represent, and retained unjustly by

28   Amazon.
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 1           128.    In selling goods at excessive prices during a public health crisis, Amazon knew that it

 2   was overcharging consumers, that consumers would be harmed, and that by retaining the sale

 3   proceeds Amazon would be unjustly enriched.

 4           129.    In the event Plaintiffs lack an adequate remedy at law, Amazon is required to make

 5   restitution in equity pursuant to the common law of unjust enrichment.

 6                                             PRAYER FOR RELIEF

 7           WHEREFORE, Plaintiffs respectfully request the following relief on their own behalf and on

 8   behalf of all those similarly situated:

 9           A.      That the Court certify the proposed Class and appoint Plaintiffs as Class

10   representatives and their counsel as Class counsel;

11           B.      That the Court award them and the proposed Class all appropriate relief, to include,

12   but not be limited to, treble damages, restitution, and injunctive relief prohibiting Amazon from

13   forever engaging in the wrongful conduct alleged herein, which has harmed Plaintiffs, the Class, and

14   the public at large;

15           C.      That the Court grant such additional orders or judgments as may be necessary to

16   remedy or prevent the unlawful practices complained of herein;

17           D.      That the Court award them and the proposed Class reasonable attorneys’ fees, costs,

18   and pre- and post-judgment interest;

19           E.      That the Court impose punitive damages; and

20           F.      That the Court award them and the proposed Class such other, favorable relief as may

21   be available and appropriate under federal or state law, or at equity.

22                                        JURY TRIAL DEMANDED

23           Plaintiffs demand a trial by jury on all issues so triable.

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 1   Dated: July 2, 2021                 Respectfully submitted,

 2                                       HAGENS BERMAN SOBOL SHAPIRO LLP

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